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                     EXHIBIT 7
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                                                                    Page 1

 1                 IN THE UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF ALABAMA

 2                          NORTHERN DIVISION

 3

 4      Brianna Boe, et al.,

 5             Plaintiffs

 6      and                                      No. 2:22-CV-00184-LCB-CWB

 7      United States of America,

 8             Plaintiff-Intervenor,

 9      vs.

10      Hon. Steve Marshall, in his official capacity as Attorney

        General of the State of Alabama, et al.,

11

              Defendants

12

13             *     *      *       *       *       *     *     *     *

14            ZOOM DEPOSITION OF PAUL W. HRUZ, M.D., Ph.D.

15                         DEFENSE EXPERT WITNESS

16                         Friday, March 29, 2024

17

18

19                       Reported by: Laurie Baker

                                *       *       *

20

21        Job No. CS6622046

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 1    ZOOM DEPOSITION OF PAUL HRUZ, M.D., Ph.D.                  1 APPEARANCES:
 2       Zoom Deposition of Paul Hruz, M.D., Ph.D.,              2
 3 taken in the above-entitled case on Friday, March             3 Renee Williams, Esquire (via Zoom)
 4 29, 2024, commencing at 9:30 a.m., via Zoom, and              4 Trial Attorneys
 5 transcribed by Laurie Baker, a Notary Public and              5 United States Department of Justice
 6 Shorthand Reporter.                                           6 Civil Rights Division
 7                                                               7 Federal Coordination and Compliance Section
 8                                                               8 950 Pennsylvania Avenue, NW-4CON
 9                                                               9 Washington, DC 20530
10                                                              10 renee.williams3@usdoj.gov
11                                                              11 On Behalf of Plaintiff-Intervenor United States of America
12                                                              12
13                                                              13 James V. Fletcher, Esquire (via Zoom)
14                                                              14 Trial Attorney
15                                                              15 United States Department of Justice
16                                                              16 Civil Rights Division
17                                                              17 Disability Rights Section
18                                                              18 950 Pennsylvania Avenue, NW-4CON
19                                                              19 Washington, DC 20530
20                                                              20 james.fletcher@usdoj.gov
21                                                              21 On Behalf of Plaintiff-Intervenor United States of America
                                                       Page 3                                                             Page 5

 1             INDEX                                             1 COTY MONTAG, Esquire (via Zoom)

 2    ZOOM DEPOSITION OF PAUL HRUZ, M.D., Ph.D.                  2   Deputy Chief, Federal Coordination and Compliance Section

 3             March 29, 2024                                    3

 4                                                               4 Christopher Stoll, Esquire (via Zoom)

 5 EXAMINATION BY                               PAGE             5   870 Market Street, Suite 370

 6 Ms. Williams                            6                     6   San Francisco, CA 94102

 7                                                               7   cstoll@nclrights.org

 8                                                               8   On Behalf of Private Plaintiffs

 9                                                               9

10                                                              10 Christopher Mills, Esquire (via Zoom)

11 EXHIBITS DESCRIPTION                              PAGE       11   Spero Law LLC

12 Exhibit A   Dr. Hruz's report               13               12   557 East Bay Street, #22251

13 Exhibit B   New Atlantis article             126             13   Charleston, South Carolina 29413

14 Exhibit C   Gloucester brief                195              14   CMills@spero.law

15                                                              15   On Behalf of Defendants

16                                                              16

17                                                              17

18                                                              18 ALSO PRESENT: Lindsay Russo, Court Reporter Trainee

19                                                              19

20                                                              20

21                                                              21

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 1             STIPULATION                                       1 might prevent you from understanding or answering
 2         It is stipulated that the reading and                 2 anything I might ask you today?
 3 signing of this deposition by the deponent is hereby          3     A   Nothing going on personally, no.
 4 waived.                                                       4     Q   And is there anything that you can think
 5            *   *    *   *   *                                 5 of that would prevent you from testifying truthfully
 6         P A U L H R U Z, M.D., Ph.D., called as a             6 and accurately today?
 7 witness and having been duly sworn, testified as              7     A   No.
 8 follows:                                                      8     Q   Great. So again, just a few ground rules
 9            *   *    *   *   *                                 9 since you've been deposed before, you've probably
10 EXAMINATION BY MS. WILLIAMS:                                 10 heard these, but just as a refresher. As you know,
11     Q    Thank you so much. Good morning, Doctor 11 the court reporter, Laurie, is going to be
12 Hruz. How are you this morning?                              12 transcribing everything we say, so it's important
13     A    Good morning. I'm doing well.                       13 that we are all on the same page. It's important
14     Q    Great. Could you please state your name             14 that you answer every question orally, so no shrugs,
15 for the record?                                              15 no nods, correct. If you're saying something yes or
16     A    Paul Hruz.                                          16 no, then just say yes or no. Do you agree to that?
17     Q    Great. And my name is Renee Williams and 17                A   Yes, I do.
18 I represent the United States in this litigation,            18     Q   And the court reporter won't be able to
19 and today I'm being helped out by our paralegal              19 transcribe two people talking at once. And so, you
20 Andrew Rogers who's going to be running some of              20 know, it's important that we avoid speaking over
21 the tech side of things. So again thank you for              21 each other. I will definitely do my best to wait to
                                                       Page 7                                                         Page 9
 1 being here.                                                   1 finish -- you know, wait to finish -- for you to
 2             So I'm going to ask you a few                     2 finish responding to my questions before I ask a new
 3 questions, and then go over some ground rules just            3 one. I'll ask that you do the same. Does that
 4 so that we can all get a good transcript today. But           4 sound fair?
 5 first off, have you been deposed before? You have,            5     A   Yes.
 6 correct?                                                      6     Q   And especially with us being remote, if
 7     A    Yes, I have.                                         7 I've asked a question and you haven't heard it, or
 8     Q    About how many times?                                8 if it's unclear or you don't understand, please just
 9     A    About a dozen.                                       9 ask me to repeat or clarify and I'll do so.
10     Q    And so you understand that you're under             10 Otherwise, if you answer, I'll assume that you
11 oath?                                                        11 understood and heard the question. Does that sound
12     A    Yes, I do.                                          12 good?
13     Q    And you understand that being under oath            13     A   Yes, understood.
14 obligates to you to answer questions truthfully and          14     Q   All right. And then in terms of breaks, I
15 to the best of your ability?                                 15 will aim to take a break around every hour, but
16     A    That is correct.                                    16 certainly if you need a break, please just let me or
17     Q    And you understand that if you don't                17 your attorney know, and I assume that's Mr. Mills.
18 respond truthfully, you could be subject to                  18 Hi. Just let Mr. Mills know or just let me know and
19 penalties of perjury?                                        19 we'll definitely do that. If we're in the middle of
20     A    Correct.                                            20 a question, I just ask that you finish the response
21     Q    Is there anything you can think of that             21 and then we can take that break. Does that sound

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  1 good?                                                           1 plaintiff case report?
  2     A   Very good, yes.                                         2     Q   Yes.
  3     Q   Excellent. All right. So just a few                     3     A   Yes. Nothing that I have to add to that.
  4 background questions. What materials did you review             4     Q   Great. And I know you have a copy of your
  5 for this deposition today?                                      5 initial expert report. I guess would it also be
  6     A   I reviewed my previously submitted                      6 helpful -- we had a little bit of an issue with
  7 declaration.                                                    7 exhibits. We weren't able to do the Veritext Share,
  8     Q   And that would be your expert report filed              8 and so we were thinking of putting it up on the
  9 in this case?                                                   9 screen, but you also have a copy as well. I'm
 10     A   That is correct.                                       10 really amenable to however, whatever makes the most
 11     Q   Without getting into what was discussed,               11 sense for you in terms of asking specific questions
 12 did you speak with anyone to prepare for this                  12 about the report.
 13 deposition today?                                              13     A   We could handle that a number of ways. We
 14     A   I spoke with -- on a phone call with                   14 could bring the documents that you want to present
 15 Mr. Mills just about logistical details of today's             15 online to the Zoom meeting, or if you chose to email
 16 deposition.                                                    16 them to Mr. Mills so that I could open them up
 17     Q   Just that one time?                                    17 electronically, I would have the ability to do that.
 18     A   Correct.                                               18 He has his computer here.
 19     Q   And what was the general time frame when               19     Q   We can just put them up on the screen, and
 20 you all spoke? I assume sometime in the last week              20 if that doesn't seem to be working, we can figure it
 21 when this was being scheduled?                                 21 out, if we need to do an email. Does that sound
                                                         Page 11                                                             Page 13
  1     A    Correct.                                               1 fair?
  2     Q    Great. Did you bring any materials with                2     A    That's fine.
  3 you today to refer to?                                          3     Q    So for the purposes of the record, I'm
  4     A    I have a copy of my declaration.                       4 going to be marking your report.
  5     Q    Very good. And it's been a while since                 5            So this is document one, Andrew.
  6 you've submitted the expert report, so is there                 6            I'm going to be marking your expert
  7 anything in the report you'd like to amend or                   7 report as United States Exhibit A.
  8 correct?                                                        8                (Hruz Deposition Exhibit A
  9     A    Well, there have certainly been additional             9                marked for identification.)
10 studies that have been published. There have been               10 BY MS. WILLIAMS:
11 quite a few of them, and there have been certainly              11     Q    So I guess, Andrew, would you go ahead and
12 developments that have happened internationally                 12 put that up on the screen, please? And Andrew,
13 related to this topic that were not included in that            13 would you want to just go to page 123 of the PDF.
14 original report. And if asked about it, I would be              14 It's kind of zoomed in, so we're only seeing a
15 happy to discuss that. There's been quite a bit, so             15 little bit of the screen. If you can keep going. I
16 it would be very difficult for me to put together a             16 apologize. Of the report itself, the signature
17 list this morning.                                              17 page.
18      Q    Is there anything -- I know you also had a            18            So Doctor Hruz, can you just confirm
19 confidential supplemental report. Is there anything             19 and verify that you signed this report on May 19th,
20 in there that you'd like to amend or correct?                   20 2023?
21      A    You're referring to the one related to the            21     A    Yes, that is my signature.

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  1     Q   Great. So we're also going to turn to                   1 have to look through my records. It gets confusing
  2 your CV, which is also in the same document. Do you             2 to me as far as the number of talks that I give.
  3 happen to have a copy of your CV, the one that you              3 But generally, the contents and the types of talks
  4 submitted with this report available? We'll also                4 are similar to the ones that are listed.
  5 have it up on the screen.                                       5     Q   Great. Would all of those updates be
  6     A   Yes. The one dated from 3-19-2023.                      6 included in an updated version of your CV?
  7     Q   Yes, Doctor, that's correct. Okay.                      7     A   I have an updated version of it, yes.
  8 Great. So again, this was some time ago. But does               8     Q   Would it be possible for us to get a copy,
  9 your -- does this CV that's listed here, did it                 9 not necessarily right now, but would it be possible
 10 include a complete list of your professional                   10 for us to get a copy of the updated CV?
 11 publications as of that date?                                  11     A   Yes.
 12     A   To the best of my knowledge, yes.                      12     Q   Great. All right. So staying with
 13     Q   And are there any new works that you've                13 your CV.
 14 published since March 19th, 2023?                              14            And, Andrew, this is on page 133 of
 15     A   Give me a minute to look at the -- whether             15 the PDF.
 16 the time -- there is in Editorial, I wrote for                 16            Just pulling up your bibliography
 17 Active Pediatrica related to the Lincocin systematic           17 section. So you have it in front of you, correct,
 18 review that I don't believe was included in this               18 Doctor?
 19 document. I'm not sure whether my book chapter                 19     A   Correct. I'm moving to that page.
 20 also -- it did include that. So I think that was               20     Q   Let me know when you're there.
 21 the main one that was not included in that CV.                 21     A   I'm there.
                                                         Page 15                                                         Page 17
  1     Q     Sorry. Just to make sure I understood.                1     Q   Okay. Great. So am I correct that you
  2 The book chapter is included in this version of                 2 have listed -- as of March 19, 2023, you have listed
  3 the CV?                                                         3 52 journal articles, three chapters, and then eight
  4     A     Correct.                                              4 invited publications, is that correct?
  5     Q     Great. And any other updates that come                5     A   That is correct.
  6 to mind since March of 2023, for example,                       6     Q   Okay. Great. Now we're going to do a
  7 presentations?                                                  7 little bit of hopping back and forth in your report,
  8     A     I've given a number of presentations since            8 so I apologize. If we could go to paragraph nine of
  9 that time. Let's go back to that section of the CV,             9 your report.
10 what I listed. Yes, so that list of presentations               10            And, Andrew, that would be on page 4
11 goes up to 2022. There's been several that I've                 11 of the document.
12 done in 2023.                                                   12            Just a clarification. So you said in
13      Q     And do you know them in general? Could               13 the first sentence of paragraph nine, you've
14 you describe examples of the types of presentations             14 published 62 scholarly articles over my academic
15 you've done since?                                              15 career spanning two decades.
16      A     They're very similar to the ones that are            16            I just wanted to know when you say
17 listed. I've given to a number of professional                  17 published scholarly articles, is that referring to
18 groups, including the national meeting at the                   18 the journal articles categories listed in your CV?
19 Catholic Medical Association. I did that in                     19 Just trying to get a sense.
20 Phoenix, Arizona. I gave a talk at Franciscan                   20     A   Yeah. My recollection is that number is
21 University. I gave a talk, I believe -- I would                 21 closer to 65 now. But it does include what is

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  1 listed in my CV, yes.                                            1 require that.
  2      Q    So when you say the scholarly articles,                2     Q   But you would agree it's not simply a
  3 you're really honing in on that, you really mean the             3 process to review, for example, for grammatical
  4 journal articles category?                                       4 errors or syntax, correct?
  5      A    That includes journal articles, invited                5     A   That is correct. So they are going to
  6 publications, and book chapters.                                 6 specifically determine whether the submission is
  7      Q    So, Doctor, how do you define the term                 7 appropriate for that journal, for the focus of that
  8 peer review?                                                     8 journal and the other papers that are typically
  9      A    Peer review involves when one submits a                9 presented in that journal. They're going to make an
10 manuscript. It is first reviewed by a member of the              10 assessment about the validity of the information
11 editorial staff of that journal. The editor of that              11 that was submitted, the accuracy of the arguments or
12 journal may choose to review the paper themselves,               12 statements that are being made. And many times
13 or they may solicit the input from other members of 13 decisions are made on the basis of the factual
14 the editorial board, or they may send out for review             14 information, but sometimes the decisions are made at
15 from peers within the field. There's many ways that 15 an editorial level based upon the fit of that study
16 peer review is conducted.                                        16 or paper for that particular journal.
17       Q    Is there a typical way that peer review is            17     Q   What do you mean when you say fit for the
18 conducted, or a means that's more common than the 18 particular journal?
19 others?                                                          19     A   Is it appropriate for the scope of -- all
20       A    As I said, normally it begins at the level            20 journals will have a statement about the scope of
21 of the editor or associate editor to which it has                21 the types of papers that they publish, and if one
                                                          Page 19                                                          Page 21
  1 been assigned to. Many times those editors                       1 was to submit, for example, an infectious disease
  2 themselves can be considered peers and experts in                2 paper to a diabetes journal, it may or may not be
  3 the field.                                                       3 relevant to the field of diabetes. Obviously, if it
  4              And then it's usually sent, for most                4 was not, they would recommend that it be submitted
  5 journals, to either one, two, or three external                  5 to a different journal.
  6 reviewers. And then the reviewer will submit a                   6     Q   So when you rate publications, or when you
  7 recommendation based upon their survey of the paper.             7 author publications, who facilitates the peer review
  8 They will be asked to comment on the factual data                8 of your publications?
  9 that's present within the paper, its presentation,               9     A   Usually it's the editor or associate
 10 and generally they give a recommendation as to                  10 editor of the journal.
 11 whether the paper should be accepted, accepted with             11     Q   And do you know how the individuals who
 12 minor revision, accepted with major revision,                   12 are selected to peer-review your work, do you know
 13 rejected with opportunity to resubmit, or rejected              13 how that selection is made?
 14 outright.                                                       14     A   It is the sole discretion of the editor.
 15     Q    And so external review is -- is it fair to             15 In most journals, they will provide an opportunity
 16 say generally an important part of peer review?                 16 for the individual who is submitting the paper to
 17     A    It is generally an important part of                   17 make recommendations, both on reviewers to review
 18 review when the editor who is reviewing the                     18 the paper and those that they would ask not be
 19 manuscript requires the input. Nobody is an expert              19 invited to review. For example, if it is a
 20 in all areas, and they often will solicit that.                 20 contentious field, that to be able to have a fair
 21 Depending on their level of expertise, they may not             21 review, they may make a request. The editor is not

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  1 obligated to abide by that. They have the sole                    1 journals. So there are some that will allow that to
  2 decision as to who they invite to review the paper.               2 occur. The more traditional approach would be to
  3     Q    Thank you. That's a very helpful                         3 write a letter to the editor, and that usually --
  4 explanation. To the extent you have input into who                4 there's a similar triaging of those letters to the
  5 your peer reviewers are, have you ever requested                  5 editor. And they then give them to the author, and
  6 that a particular reviewer not peer-review your                   6 they have the ability to respond.
  7 papers?                                                           7            So very frequently when a paper is
  8     A    Most of my publications are related to the               8 published and letters to the editor are submitted,
  9 field of diabetes. I have made recommendations of                 9 they are often compiled and many times the author
10 those that I would suggest to review the paper. I                 10 will respond to the ones that are given to that
11 can't currently recall any circumstance where I                   11 author to be published alongside of that letter from
12 asked for a reviewer not to be invited. And in                    12 the outside source.
13 the area of papers that I've written on gender                    13     Q   Letters to the editor, are they often peer
14 dysphoria, I have not done that.                                  14 reviewed?
15      Q    Great. And then just a couple more                      15     A   Yes, they are peer reviewed in that not
16 questions about peer review. Are the comments and 16 all letters to the editor will be published. And
17 edits that are provided through the peer-review                   17 frequently if there's a substantial question about
18 process, are those confidential?                                  18 the study methodologies or the conclusions and the
19      A    Generally, yes. There has been a move in                19 editor themselves do not feel qualified to
20 some journals to make that publicly available. Some 20 adjudicate that, they will sometimes seek the
21 of the more recent online journals that are open                  21 guidance in a similar way when a paper is published
                                                           Page 23                                                           Page 25
  1 access have moved to a model where they have what                 1 to address that question, to help them to sort out
  2 they consider post-publication review where that                  2 whether this is a criticism that should be addressed
  3 review process actually extends after the time of                 3 to the author, that they are given an opportunity to
  4 publication, allowing investigators to make comments              4 respond.
  5 and asking the author to respond to that.                         5     Q   Can you think of examples of journals
  6           The traditional review process is                       6 where letters to the editor are not peer reviewed?
  7 blinded, meaning that frequently the reviewer won't               7     A   My only involvement is where I myself have
  8 even know the author of the paper, and the author                 8 served as a peer reviewer and in circumstances where
  9 will not know who the reviewers are of that article.              9 I've served as an associate editor. I can't speak
 10 That is designed to preserve the integrity of the                10 for the other journals. So it's a very broad topic,
 11 review process and to make sure that there is the                11 and I think most often if it's a very small comment,
 12 most objective reading of that paper.                            12 it is handled at the level of the editor. I do not
 13     Q   You mentioned post-publication review.                   13 have any data as to how many times they are sent out
 14 And in general, I understand that not all journals               14 for other guidance by other individuals.
 15 are going to be the same. But this move to                       15     Q   So is it fair to say that each journal has
 16 post-publication review that you mentioned, can                  16 their own policy regarding letters to the editor and
 17 anyone in a particular field submit comments                     17 whether they're peer reviewed?
 18 or criticism to a -- in the context of a                         18     A   Again, it's usually editor-specific, not
 19 post-publication review?                                         19 journal-specific. And they do each have their
 20     A   The question about post-publication                      20 policies. There are similarities from most of the
 21 comments, it will be different for different                     21 top-tier journals. And again, the rigor by which

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 1 things are reviewed will be influenced by whether             1 focus on the medical treatment of gender dysphoria?
 2 it's a top-tier journal, how many submissions they            2 And if it's helpful to go through the CV, happy to
 3 normally get, the capacity to be able to handle it,           3 do that.
 4 the nature of the article in question, and the value          4     A   Well, I would say I've been involved in
 5 to the readership of that journal as to whether that          5 scientific research for three decades throughout the
 6 letter to the editor warrants a higher or lesser              6 early stage of my professional career. Most of my
 7 degree of scrutiny.                                           7 time was spent investigating areas related to
 8     Q   In terms of your publication history, have            8 structural biology in relation to questions of
 9 you ever had a draft publication rejected after peer          9 diabetes, moving on toward drug discovery in the
10 review?                                                      10 treatment of that condition.
11     A   Quite frequently.                                    11            It's only in the last several years
12     Q   And why is that?                                     12 that much of my scholarly time has been devoted to
13     A   For a variety of reasons. Most often the             13 this question of gender dysphoria. I began -- I'll
14 reviewers have raised questions about the content of 14 have to look at the date of the first publication.
15 the paper. Most often they will ask for additional           15 I would say currently the majority of the papers
16 data, additional experiments to be done. They                16 that I am publishing are on the area of gender
17 sometimes will request clarification in the                  17 dysphoria. That's in contrast to the first years of
18 interpretation of the data. This is part of the              18 my career.
19 normal scientific publishing process. For most               19     Q   Is there a particular reason for the shift
20 people who publish, it is something to be expected.          20 in emphasis?
21            It's extremely rare to have a paper               21     A   Yes.
                                                      Page 27                                                       Page 29
 1 accepted without revision. It is common for papers            1     Q   Could you elaborate?
 2 to be rejected, resubmitted, and then published in            2     A   Certainly. The necessity of writing in
 3 that same journal after addressing the questions              3 this area has become more important. When I first
 4 that are raised by the reviewers.                             4 began in my career, this question of gender
 5     Q   And have you ever, while going through                5 dysphoria was not even being discussed, and there
 6 this review process for a draft publication, have             6 was very little being written by endocrinologists in
 7 you ever decided not to move forward with                     7 this area. So it is an area that has gained
 8 publication after peer review?                                8 attention and a need to address many of the
 9     A   I've never not published a paper, but very            9 interventions that are being proposed by the
10 frequently I have chosen to submit to a different            10 endocrinologist profession.
11 journal.                                                     11            And because of that, again, this is
12     Q   And in terms of the types of publications            12 not unique to this particular area. There are many
13 that you mentioned about submitting to different             13 times where new questions arise and there's a need
14 journals, do any of them have to do with gender              14 to publish on scientific and medical questions that
15 dysphoria?                                                   15 were not even recognized earlier.
16     A   It applies to all the publications that              16     Q   And -- but treatment for gender dysphoria
17 I've had throughout my career.                               17 in itself is not new, correct?
18     Q   That would include publications related to           18     A   I would say that the new paradigm of the
19 gender dysphoria?                                            19 affirmation model for the treatment of the
20     A   That is correct.                                     20 adolescents with this condition is relatively new.
21     Q   And how many of your professional writings 21 Again, it depends on what you would consider new,

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  1 but I would say that in the last one to two decades,         1            Doctor, you -- so I'm looking
  2 that is where that question has risen. And it's              2 specifically at the editorial ad hoc reviews
  3 become more prominent probably in the last ten               3 categories, so editorial responsibilities. You list
  4 years.                                                       4 this journal, the Journal of Clinical Endocrinology
  5     Q    We will come back to that particular                5 and Metabolism, as one of the editorial ad hoc
  6 discussion. Definitely want to just kind of finish           6 reviews, correct?
  7 going through your CV, if that's okay.                       7     A    That is correct.
  8            Andrew, could we go to page 133 of                8     Q    What do you mean when you say in your CV
  9 the PDF? Let me orient Doctor Hruz on where                  9 editorial ad hoc reviews?
 10 exactly.                                                    10     A    What that means is that I am not listed on
 11            Okay. Back to the journal articles.              11 the editorial board as an associate editor, but that
 12 Let me know when you're there, Doctor.                      12 I've been solicited by an editor or associate editor
 13     A    Okay.                                              13 to review a manuscript for publication in that
 14     Q    So would you be able to -- and with the            14 journal.
 15 understanding that this is not your most up-to-date         15     Q    And are there particular subject areas?
 16 CV, would you be able to just identify by number the 16 And I know endocrinology is a large field -- that
 17 publications that deal with the medical treatment of        17 you're asked to review articles on an ad hoc basis?
 18 gender dysphoria?                                           18     A    Most scientists, like myself, the majority
 19     A    You want me just to list the numbered              19 of their time in the review process is going to be
 20 references that pertain, or do you want me to give          20 doing ad hoc reviews. It's a substantial time
 21 you a number by counting up the records?                    21 commitment to agree to be a member of an editorial
                                                      Page 31                                                           Page 33
  1     Q    Apologies. Thank you for the                        1 board. When one signs up to be an associate editor,
  2 clarification question. If you could just give               2 generally speaking, the number of papers that one
  3 me the particular numbers, so one, two, three,               3 will be assigned is going to increase substantially,
  4 et cetera, that would be really helpful.                     4 often being asked to review papers every week or
  5     A    I'm going to begin with number 48,                  5 every several weeks, as opposed to these requests
  6 number 50. In the chapters, number two and number 6 that come sporadically solicited by the editor or
  7 three. In the invited publications, number six,              7 associate editor, which is much easier logistically
  8 seven, and eight.                                            8 when one has a very busy professional schedule of --
  9     Q    Great.                                              9 like myself in patient care and education and
 10            Andrew, could we move down to item 50            10 scientific research.
 11 under the journal articles.                                 11     Q    So item 50 from your CV, the proper care
 12            Just one of the ones, Doctor Hruz,               12 of transgender and gender-diverse persons in the
 13 you just mentioned, the proper care of transgender          13 setting of proposed discrimination: a policy
 14 and gender-diverse persons in the setting of                14 perspective, is that an article based on original
 15 proposed discrimination: a policy perspective. This 15 research?
 16 is -- is that -- is it correct that the journal             16     A    If you're asking -- are you asking whether
 17 citation is to the Journal of Clinical Endocrinology        17 it was a scientific study?
 18 and Metabolism?                                             18     Q    Yes.
 19     A    That is correct.                                   19     A    It was not a scientific study. It was, as
 20     Q    And apologies, Andrew, if you can scroll           20 the title suggests, it was a letter to the editor
 21 back up to 128 of the PDF.                                  21 that was submitted with the question that is

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  1 contained within the title of the paper.                          1 that you laid out in your draft to Pediatrics?
  2     Q   Was it peer reviewed in the manner that we                2     A   I would say to some extent they did. They
  3 discussed previously in terms of -- was this a                    3 were not phrased as completely and as concisely as I
  4 peer-reviewed letter to the editor?                               4 did. So they were similar, but not -- it wasn't a
  5     A   In light of what I've already shared with                 5 complete presentation in the letters that were
  6 you about the process, I do know that it went to the              6 published of the many methodologic problems with
  7 editor. I'm not privy to what went on in the                      7 that paper. So I would say partially yes.
  8 decision to publish the letter. But it was -- so I                8     Q   In going back to item 50 on your CV, just
  9 can't comment on exactly what happened in the review              9 to close the loop on that. So could you just walk
 10 process. I do know that other letters that I have                10 through how the letter to the editor that you wrote
 11 written to the editor have not been published.                   11 for item 50, how that came to be?
 12     Q   And when you say have not been published,                12     A   Well, I have ongoing professional
 13 do you mean in the Journal of Clinical Endocrinology             13 discussion with a very large number of people that
 14 and Metabolism specifically?                                     14 are interested in this very important topic of the
 15     A   No. The one that I'm referring to is                     15 optimal means to care for individuals that have
 16 actually submitted to the Journal of Pediatrics.                 16 sex-discordant gender identity. When, again, that
 17     Q   Do you know, were you given any reason why               17 was back in 2021, couple years ago. I don't
 18 it was not published?                                            18 remember the exact circumstances of how the decision
 19     A   The only response I received was that                    19 was made to submit that letter. But it was in
 20 it was considered -- this was in relation to the                 20 response to a question or an area that was felt
 21 2000 [sic] article by Turban looking at suicidality              21 needed to be presented within the literature
                                                           Page 35                                                            Page 37
  1 based upon the 2015 U.S. Transgender Survey. I                    1 regarding this question of care of individuals with
  2 submitted a letter with concerns about the study,                 2 this condition.
  3 methodology and the interpretation of the data,                   3     Q   And the journal that particular item, item
  4 which is included in my expert report.                            4 50 on the CV was published, the Journal of Clinical
  5              My understanding is that there were a                5 Endocrinology and Metabolism, is that journal widely
  6 very large number of letters to the editor                        6 read within the scientific community?
  7 submitted. I don't know the timing before or after                7     A   It is one of the leading journals in the
  8 I submitted my letter. One of the reasons for not                 8 field of endocrinology.
  9 publishing all letters to the editor is if the                    9     Q   Would it be fair to say that the Journal
 10 questions at hand were already addressed by other                10 of Clinical Endocrinology and Metabolism is a
 11 comments that were made by other outside                         11 prominent scientific journal?
 12 individuals. There are a number of reasons why                   12     A   It is a prominent -- again, the number of
 13 they're chosen not to be published.                              13 journals that are currently publishing papers has
 14     Q      And based on the letters to editor in                 14 expanded almost exponentially over many years. So
 15 response to the Turban 2000 -- or is it Turban 2020              15 there is a rating for journals within the entire
 16 article?                                                         16 scientific enterprise. And ratings within areas of
 17     A      Correct.                                              17 focus. And they become actually increasingly narrow
 18     Q      Let me start over just so that we're all              18 in how they're ranked. For example, a general
 19 on the same page. So in response to the Turban 2020 19 science journal versus a journal on endocrinology
 20 article, are you aware of letters to the editor that             20 versus a journal on diabetes in particular. In
 21 were, in fact, published that did reflect concerns               21 fact, even journals in smaller subsets of questions

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  1 within a particular field.                                      1     A    Close enough.
  2             The journals themselves are rated                   2     Q    You said that was an ethics publication,
  3 by -- most often by how often the papers themselves             3 correct? So it would not be considered a scientific
  4 are cited by others. Influencing or recognizing the             4 publication, is that fair?
  5 influence of that paper in the scientific dialogue              5     A    Incorrect. It is a different field of
  6 that is constantly going on. The journals strive to             6 science.
  7 have their papers have the highest degree of                    7     Q    So is it a bioethics journal?
  8 visibility and are assessed on how they are                     8     A    Yes.
  9 influencing the field in question.                              9     Q    And who publishes the Linacre Quarterly?
 10     Q     So -- but within endocrinology, is the               10     A    It is the Catholic Medical Association.
 11 Journal of Endocrinology and Metabolism, is that a             11     Q    And have you ever published the -- just a
 12 preeminent journal in that particular medical                  12 second. Have you ever published a paper based on an
 13 specialty?                                                     13 original study that you designed regarding the
 14     A     It is considered within endocrinology one            14 diagnosis of gender dysphoria?
 15 of the top-tier journals, yes.                                 15     A    Are you asking if I've conducted a
 16     Q     Going back -- and, Andrew, I apologize,              16 clinical study with, for example, an intervention
 17 going back to the journals section of the CV. Just             17 with randomization and control trial, the answer is
 18 wanted to look at item 48, which is a paper entitled           18 no.
 19 Deficiencies in Scientific Evidence for Medical                19     Q    Or any study design that -- even short of
 20 Management of Gender Dysphoria.                                20 randomized control trials.
 21             That's the correct title, correct,                 21     A    My study methodology is in relation to
                                                         Page 39                                                            Page 41
  1 Doctor?                                                         1 critical analysis of the published literature. I
  2     A   You're referring to reference 48?                       2 have made suggestions to many of my colleagues at my
  3     Q   Yes, Doctor.                                            3 institution and asserted as a reviewer for those
  4     A   Yes. It's titled Deficiencies in                        4 that are interested in conducting trials. I have
  5 Scientific Evidence for Medical Management of Gender            5 not had the opportunity to directly participate,
  6 Dysphoria.                                                      6 other than in an advisory role, in those studies.
  7     Q   Is that paper based on any primary                      7     Q    And just in terms of your overall
  8 research that you conducted?                                    8 background, is it fair to say you're a medical
  9     A   Yes. It's based upon my research of the                 9 practitioner as well as a researcher?
 10 literature related to this question.                           10     A    Correct. I am a physician-scientist.
 11     Q   But it wouldn't be classified as an                    11     Q    Have you ever published a paper based on,
 12 original study?                                                12 again, a study design regarding the causes of gender
 13     A   It was not a clinical trial. It was                    13 dysphoria?
 14 actually published in an ethics journal. And it                14     A    Maybe you should clarify what you mean by
 15 used the methodologies that most experts that are              15 study.
 16 publishing in an ethics journal would use. Again,              16     Q    A clinical trial.
 17 very rarely would one find in an ethics journal a              17     A    I have not conducted a clinical trial.
 18 scientific study with a control group in the areas             18     Q    Have you published a paper based on
 19 we would, in other areas.                                      19 original research regarding the causes of gender
 20     Q   And this is published in the Linacre                   20 dysphoria?
 21 Quarterly, did I pronounce that correctly?                     21     A    So again, your question about a clinical

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  1 trial, I don't know how a clinical trial could be          1     Q     Yes.
  2 conducted on the diagnosis of gender dysphoria.            2     A     -- whether in the discussion that is
  3 It -- usually the clinical diagnoses categories are        3 addressed within the other papers? Looking --
  4 based upon other discussions about how to classify         4     Q     I'm sorry?
  5 diseases. I'm sorry. That was a tangent. Can you           5     A     Are you asking about whether I have
  6 rephrase your question?                                    6 written on that particular topic as part of a larger
  7     Q   No problem. What I was asking is, have             7 analysis, or whether I have published on a topic
  8 you published any paper based on original research         8 specifically related to that question and not other
  9 regarding the causes of gender dysphoria?                  9 areas?
 10     A   Yes.                                              10     Q     Sure. Specifically related and focused on
 11     Q   And what papers specifically would fall           11 the topic of the diagnosis of gender dysphoria, not
 12 into that category?                                       12 the -- not in terms of discussing it in a background
 13     A   We've already discussed the paper in the          13 related to other topics.
 14 Linacre again. When you say research, I'm assuming 14            A     Well, I would say that my role as a
 15 you're referring to a scholarly activity in which         15 physician-scientist is as an endocrinologist. The
 16 one critically evaluates scientific data.                 16 role of an endocrinologist is focused on medical
 17     Q   But not a study in the sense of there are         17 interventions that relate to the field of
 18 subjects and an intervention, et cetera, correct?         18 endocrinology, and that has been the focus of my
 19     A   If I understand your question right,              19 scholarly activity.
 20 you're distinguishing between scientific study and        20             To the extent that it's necessary to
 21 clinical trial?                                           21 include in that analysis questions of diagnosis, I
                                                    Page 43                                                         Page 45
  1     Q   Yes.                                               1 have indeed published on that. But to publish a
  2     A   I have not performed directly a clinical           2 paper specifically related to the diagnosis is not
  3 trial related to individuals that have                     3 something endocrinologists would normally be asked
  4 sex-discordant gender identity. My role has been           4 to be involved in.
  5 limited to serving in an advisory capacity to some         5     Q     So just to confirm, you haven't published
  6 of my colleagues at my institution that are                6 a peer-reviewed article that is specifically focused
  7 conducting those types of clinical trials.                 7 on the diagnosis of gender dysphoria, correct?
  8     Q   And have you ever published a                      8     A     All of my publications relate to questions
  9 peer-reviewed article regarding gender-affirming           9 of medical interventions that involve endocrine
 10 care?                                                     10 issues.
 11     A   Yes.                                              11     Q     Would the same be true then -- is it fair
 12     Q   Which -- if it's on your CV, which                12 to say that you have not published a peer-reviewed
 13 articles are you referring to?                            13 article regarding gender identity disorder either in
 14     A   I think all the ones we mentioned before          14 terms of the diagnosis of gender identity disorder?
 15 related to the question of gender dysphoria include       15     A     I would say that my publications do
 16 analysis of the question of the affirmative model of      16 address that question. But they include primarily
 17 interventions for that condition.                         17 attention to the issues of medical interventions.
 18     Q   Have you published a peer-reviewed article        18     Q     And have you ever been involved in a
 19 regarding the diagnosis of gender dysphoria?              19 research study, so again, a clinical research trial
 20     A   Are you asking whether I published a paper        20 examining the use of gender-affirming hormones to
 21 that was directly focused on that question, or --         21 treat gender dysphoria?

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  1     A   Yes. In the capacity that I've already                 1    A    Yes.
  2 stated as an adviser to colleagues of mine at my               2    Q    And where is that systematic review?
  3 institution that are conducting studies involving              3    A    It has not been published yet.
  4 affirmative interventions.                                     4    Q    Has not been published. Okay. Do you
  5     Q   But you have not published a paper                     5 have a sense of -- so it's in process right now?
  6 resulting from that work involving any sort of                 6    A    It is -- actually, there are two different
  7 clinical trial and gender-affirming hormones to                7 studies that were commissioned, and both of them are
  8 treat gender dysphoria, is that fair?                          8 in various stages of discussion. And much of that
  9     A   Given my involvement in those clinical                 9 is going to be influenced by other systematic
 10 trials, and the fact that they are ongoing, the               10 reviews that have already been published on the same
 11 answer is no.                                                 11 areas that essentially have accomplished the goal
 12     Q   So there have been published papers                   12 that was intended by that review. So there's again
 13 related to those ongoing clinical trials?                     13 many reasons why studies are in the process of
 14     A   My understanding is that some of the data             14 putting them together that may delay the
 15 from those investigations have been shared in a               15 publication.
 16 poster format, oral presentations at national                 16    Q    And you said that there are two studies
 17 meetings, but to my knowledge they have not yet been          17 commissioned. Are those specifically two systematic
 18 published in print.                                           18 reviews that you are talking about?
 19     Q   So they haven't been published in a                   19    A    They were designed to be systematic
 20 scientific journal as of today?                               20 reviews, correct.
 21     A   That is correct.                                      21    Q    Who commissioned those two studies?
                                                        Page 47                                                           Page 49
  1     Q    Doctor, what is a systemic review -- I'm              1     A    It was the Cochrane --
  2 sorry, systematic review?                                      2     Q    You cut out. I didn't hear the last part.
  3     A    Systematic review is a means to look at               3 I heard Cochrane, and then could you repeat?
  4 the body of literature that is conducted in a                  4     A    I said Cochrane Work Group. It's using
  5 rigorous manner where there are established criteria           5 the Cochrane model.
  6 for which papers are going to be considered, how the           6     Q    Is that affiliated with the Cochrane
  7 papers are going to be assembled to be investigated,           7 review that we think of when we think of something
  8 how the data is interpreted in an attempt to                   8 as published as a Cochrane review?
  9 systematically -- that's not necessarily the term --           9     A    Correct.
 10 in order to in a formal way assess the knowledge              10     Q    Few more questions on your CV. I know
 11 base in a particular area in contrast to other types          11 we're coming to about an hour. Would you be okay
 12 of reviews that are done, for example, scoping                12 with a few more questions and then a break? I want
 13 reviews, which are more inclusive in the papers to            13 to check in and see how you're doing.
 14 be considered, and more limited reviews that are              14     A    My preference is to keep moving forward.
 15 addressing a particular area of interest that can be          15 You'll have to call the breaks. I'll keep going as
 16 valuable to the readership of the journal that are            16 long as you want.
 17 not as expansive or inclusive as the systematic               17     Q    Great. I will finish this line of
 18 reviews.                                                      18 questioning, then we'll take a brief break. So
 19     Q    And have you ever conducted a systematic             19 thank you.
 20 review of the evidence base regarding medical                 20            So just back to your CV.
 21 treatment for gender dysphoria?                               21            And, Andrew, this is going to be 129

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  1 of the PDF.                                                   1 you said this question or something along those
  2            So, Doctor, this is a major invited                2 lines, are you specifically talking about gender
  3 professorships and lectures, that category. Just              3 identity or issues around gender dysphoria?
  4 wanted to ask what you mean when you say major to             4     A   I have given talks on many different
  5 refer to your presentations?                                  5 topics related to my area of expertise, not limited
  6     A   That's a very good question. I ask myself             6 to gender dysphoria. I have been more recently
  7 that all the time. I never include everything that            7 asked in response to the book chapter that I wrote
  8 I have done. The purpose of my CV in my academic              8 that is listed in my CV on questions of sexual
  9 career relates to my professional activities that             9 identity based upon my experience in caring for
 10 usually will influence decisions on promotion,               10 individuals that have disorders of sexual
 11 tenure, and recognition within the academic                  11 development.
 12 community.                                                   12           There's an ongoing discussion about
 13            So, therefore, I generally will list              13 understanding the sexual identity of individuals
 14 the ones that have had the most influence, the ones          14 that have disorder of sexual development, and there
 15 that are presented, for example, at national                 15 are many people that have asked me more recently to
 16 meetings as opposed to small groups with less                16 speak on that particular topic. So it is not
 17 impact.                                                      17 limited to gender dysphoria.
 18            Many of my requests for speaking have             18           I've also spoken on areas more
 19 been in nonmedical or scientific communities. I              19 generally in the area of medical ethics. I've
 20 generally don't list those. I like to list those             20 spoken on topics related to the conduct of
 21 that are to medical professionals, universities,             21 scientific research and the rigor that's necessary
                                                       Page 51                                                       Page 53
  1 professional organizations, and those that are                1 in maintaining scientific integrity. I've spoken on
  2 considered to have impact within the field.                   2 the way that particular topics of becoming a
  3     Q   Do you have any examples of perhaps                   3 physician-scientist, some of the personal and
  4 lectures that are not listed where you're speaking            4 professional challenges of pursuing a career as a
  5 to maybe a nonmedical or nonscientific audience, but 5 physician-scientist. The list is fairly extensive.
  6 you're talking about scientific issues?                       6 Those are the examples that come to mind currently.
  7     A   I've done that dozens if not hundreds of              7     Q   And when you talk about medical ethics,
  8 times in the last ten years. Yes, I would -- I                8 could you give an example of the type of framing of
  9 don't even keep track of all of them.                         9 medical ethics that you would discuss in these
 10     Q   Do you have an example that comes to mind 10 smaller lectures?
 11 of that type of presentation?                                11     A   Most certainly. So that I do give a
 12     A   I'm always willing to talk to anyone that            12 lecture to students. I actually taught a course on
 13 desires to objectively look at the scientific                13 research ethics to our undergraduate studies. I did
 14 evidence in relation to this question.                       14 that for many years. I continue to speak on topics
 15            I have given talks to student groups              15 of how to accurately present research, areas of
 16 frequently. I have given talks to parent groups. I           16 conflict of interest, areas of bias, controversial
 17 have given talks to others that -- again, I am just          17 areas unrelated to gender dysphoria in which the
 18 trying to remember. I don't have any way of keeping 18 medical profession has changed the way they address
 19 track of what all these talks are. Some of them are          19 issues. That includes the area of disorders of
 20 in very small, informal groups.                              20 sexual development, how that has evolved over the
 21     Q   Understood. When you said -- I believe               21 three decades that I have been involved in

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  1 endocrinology. So it covers a wide variety of                    1     Q   And other than grand rounds, have you
  2 topics.                                                          2 provided any presentations regarding gender
  3     Q     In your list of lectures in your CV, I                 3 dysphoria at any medical conferences?
  4 don't think you -- this is just a general question.              4     A   Yes.
  5 You list grand rounds. What are grand rounds?                    5     Q   And are those listed on your CV?
  6     A     Grand rounds are usually when you're                   6     A   Yes. As I mentioned, there was probably a
  7 invited by a university or department most often,                7 few in the last year, including that national
  8 for example, a department of pediatrics to present.              8 meeting in Phoenix that I presented that. Yeah, it
  9 Most institutions, my own included, have a regular               9 does have my talk in Italy on there as well. Yes.
 10 lecture series. Ours are usually held on Friday                 10     Q   So those would all be reflected either in
 11 mornings where a variety of topics are discussed.               11 this document or the updated CV?
 12 They cover the entire field of pediatrics. And they             12     A   Generally when I've been asked to present
 13 can run the spectrum from basic science to                      13 at a national meeting, I will include that on my CV,
 14 translational to clinic studies, and this is part of            14 yes.
 15 academia in general.                                            15     Q   And the meetings that you choose not to
 16             It is generally considered, when one                16 include, they oftentimes are more local, is that
 17 is invited to give a grand rounds presentation, that            17 correct?
 18 they are recognized as an expert in that particular             18     A   Generally speaking, yes. I probably need
 19 field. And that is why they are being called to                 19 to do better at keeping track. There's just been so
 20 present to that group.                                          20 many requests to be able to speak on this topic
 21             There are -- we have what we call                   21 because there's a tremendous interest among my
                                                          Page 55                                                           Page 57
  1 endocrine and metabolism grand rounds. We have the               1 colleagues, both scientists, clinicians, and the
  2 department of pediatric grand rounds. Depends on                 2 public at large on this topic.
  3 the department that is making the invitation.                    3     Q   And then just in general, so we talked
  4     Q   And have you ever conducted a grand rounds               4 about gender dysphoria, but across your career, how
  5 lecture on the topic of gender dysphoria?                        5 many occasions have you directly participated in
  6     A   Quite a few of them, and they are listed                 6 clinical trials?
  7 in my CV.                                                        7     A   Very few directly. Most of my involvement
  8     Q   Are those -- Andrew, could you scroll                    8 in clinical trials has been in that advisory role.
  9 down, please? I want to make sure.                               9 And that's mostly due to time constraints because I
 10           Would those be generally the more                     10 am in active clinical practice. I have carried out
 11 recent, maybe from -- is there a particular year,               11 basic science research and have participated in the
 12 for example, where more likely than not you would be            12 education of our residents, of fellows and medical
 13 talking about gender dysphoria in the grand rounds              13 students. The amount of time that it requires to
 14 as opposed to diabetes or other topics of                       14 direct a clinical trial is enormous. And therefore
 15 endocrinology?                                                  15 I have chosen to limit my involvement to that
 16     A   Yes, you are correct, they are the more                 16 advisory role.
 17 recent presentations. I began being involved in                 17     Q   And just to be clear, that would also
 18 this topic of gender dysphoria around 2011. So                  18 extend to clinical trials related to gender
 19 anything prior to that is very unlikely to have                 19 dysphoria in terms of your advisory capacity?
 20 involved that topic, and many of the talks since                20     A   That is correct.
 21 then have related to the topic of gender dysphoria.             21     Q   Okay. Great. So we'll give you a break,

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  1 Doctor Hruz. Should we say maybe reconvene -- I                 1 diseases.
  2 have 10:08. Should we take a brief ten-minute break             2     Q     You said early 20s in terms of the age
  3 and then come back at 10:18? Does that work?                    3 range. Is there a specific cutoff, or does it
  4     A   That looks good to me.                                  4 depend on the patient?
  5     Q   Thank you so much, Doctor.                              5     A     We generally -- I will generally follow
  6              (A recess was held.)                               6 patients if they're in college, until they graduate
  7 BY MS. WILLIAMS:                                                7 from college. And we often will follow them longer
  8     Q   Doctor Hruz, I'm going to turn now to some              8 than that if they have a rare complex disease being
  9 questions, more background questions about your                 9 followed by other specialties at my institution. I
 10 medical practice and more about your background. So            10 have patients as early -- that are into their 30s,
 11 you are an active medical practitioner, correct?               11 but that's quite rare. Most often we will follow
 12     A   That is correct.                                       12 them until they are completed college, and -- or if
 13     Q   How long have you been a medical                       13 they choose once they've turned 18 to be transferred
 14 practitioner?                                                  14 to an adult endocrinologist.
 15     A   Well, I've been involved in endocrinology              15     Q     Would you consider then pediatric
 16 since my fellowship training starting in 1997. So              16 endocrinology to be your area of specialty, is that
 17 we're at, what, 26 years, 27 years. I joined the               17 fair?
 18 faculty in 2000, so I've been practicing as a                  18     A     It is my area of clinical specialty, yes.
 19 pediatric endocrinologist at Washington University             19     Q     In the course of being a pediatric
 20 for the last 24 years.                                         20 endocrinologist, do you treat patients for mental
 21     Q   Are you a member of any professional                   21 health conditions?
                                                         Page 59                                                            Page 61
  1 associations?                                                   1     A     Yes.
  2     A    Yes. They're listed on my CV.                          2     Q     How so? Could you elaborate?
  3     Q    Including the Endocrine Society?                       3     A     Do I treat patients for medical
  4     A    Correct.                                               4 conditions?
  5     Q    And you're currently a member of the                   5     Q     Sorry. I wasn't clear. I apologize. Do
  6 Endocrine Society?                                              6 you treat patients for mental health conditions?
  7     A    Correct.                                               7 Apologies that didn't come through.
  8     Q    What is your area of medical practice?                 8     A     I was wondering about the question.
  9     A    I am a pediatric endocrinologist, so my                9 Certainly many of my patients will have mental
 10 practice encompasses all areas related to hormone              10 health issues that will significantly impact their
 11 diseases across from birth until the early 20s.                11 disease course or their response to treatment.
 12 Most endocrinologists like myself spend a                      12             So I'm not called upon to make mental
 13 substantial amount of time caring for patients that            13 health diagnoses, but I do encounter patients very
 14 have disorders of glucose metabolism, namely                   14 frequently that have mental health issues that are
 15 diabetes mellitus, but we also care for patients               15 very important for me as an endocrinologist to
 16 that have disorders of growth, thyroid issues,                 16 recognize and help that individual in the context of
 17 pituitary issues, bone issues, puberty issues, and             17 their endocrine care be able to navigate those
 18 relevant to gender dysphoria the question of sexual            18 issues.
 19 identity and disorders of sexual development. All              19     Q     But specifically you're not making an
 20 of these -- so it involves treating patients both              20 initial mental health diagnosis?
 21 acutely and longitudinally for hormone-related                 21     A     I would say not in a formal way do I make

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  1 a diagnosis as, for example, a psychologist or                   1 discussed in the last session, not a direct paper
  2 psychiatrist. I do, however, there are many                      2 related to psychiatric issues. The publications
  3 instances where, in the course of my care of the                 3 that I've mentioned do include discussion not
  4 patient, I become aware of a mental health issue                 4 directly that would pertain to psychiatric
  5 that has not previously been diagnosed, and then                 5 conditions and influences.
  6 arrange for that individual to be able to see my                 6     Q   But you wouldn't consider yourself to be a
  7 colleagues to receive the care that they need. That              7 mental health professional, is that fair?
  8 happens fairly frequently.                                       8     A   I will state very clearly, as I have in my
  9     Q    What training do you have in psychiatry                 9 declaration and in my CV, I am a pediatric
 10 specifically?                                                   10 endocrinologist and physician-scientist. All
 11     A    My formal training in psychiatry related               11 physicians are involved in mental healthcare to some
 12 to my time in medical school and things in my                   12 degree. I do not state that I am a psychiatrist or
 13 training while I was in residency that related to               13 a psychologist. That, I am not.
 14 mental health issues.                                           14     Q   Are you familiar with the Diagnostic and
 15            We also have ongoing training. For                   15 Statistical Manual of Mental Disorders, specifically
 16 example, one of the weekly conferences that we have 16 the Fifth Edition, and there was a text revision in
 17 relates to our care of patients with diabetes. In               17 2022? Are you familiar with that?
 18 that conference, we have regularly scheduled times              18     A   Yes, I am.
 19 where we do have a psychologist that will be present 19                Q   Is it okay if we call that the DSM-5-TR?
 20 to help us, for example, in patients that have                  20     A   That would be fine.
 21 eating disorders or that have major depression or               21     Q   Okay. Great. Have you reviewed the
                                                          Page 63                                                        Page 65
  1 anxiety disorder to help us in being able to                     1 entire DSM-5-TR?
  2 navigate the care of those patients. So I think                  2     A   From cover to cover, no.
  3 that education is ongoing. But it's limited to                   3     Q   Are there particular parts of the DSM-5-TR
  4 those settings. My formal training was limited to                4 or even prior versions of the DSM that you've
  5 official rotations while I was in medical school.                5 reviewed?
  6    Q    And those weekly meetings that you                       6     A   Yes.
  7 mentioned, do any of them focus on gender dysphoria              7     Q   And what specific parts -- let's start
  8 specifically?                                                    8 with the DSM-5-TR -- have you reviewed?
  9    A    So your question about whether it was                    9     A   Well, maybe I should clarify the question.
 10 specific for gender dysphoria, it is much more                  10 Have I read critically and analyzed or contributed
 11 comprehensive, other than we're discussing issues of            11 to the information that's present? Which question
 12 mental health that will impact an individual's                  12 are you asking?
 13 ability to comply with treatment recommendations,               13     Q   I would say let's start with just reviewed
 14 reasons why they might be repeatedly admitted to the            14 in general. I am curious if there are other areas
 15 hospital. There certainly are patients that we have             15 within the DSM-5-TR that you have also reviewed in
 16 discussed with gender dysphoria that have had                   16 your practice.
 17 metabolic abnormalities that may have contributed to            17     A   Yes. I do this routinely in my ongoing
 18 them having adverse outcomes.                                   18 education. When I encounter a patient that has an
 19    Q    Do you have any published scholarship in                19 issue that may be aided by a better understanding of
 20 the field of psychiatry?                                        20 how I can present that -- when I make the referral
 21    A    In the context of what we previously                    21 to a psychologist or psychiatrist, not necessarily

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  1 to make a formal diagnosis, but to gain insight into          1     Q     And so do you do this unprompted?
  2 some of the mental health issues that may be                  2     A     So when I am making a diagnosis and
  3 pertaining to that patient.                                   3 recommending a course of treatment, it is necessary
  4     Q   And then you had sort of referenced sort              4 to discuss with the patient in the area of
  5 of more in-depth review of certain sections of the            5 pediatrics, also their parents, the relative risk
  6 DSM-5-TR. Are there specific portions or diagnoses 6 and the potential benefits of any medical
  7 that you focused on?                                          7 intervention.
  8     A   In the context of this question by                    8     Q     And have you ever discussed specific
  9 recruiting endocrinologists to participate in the             9 scientific studies with patients and their parents?
 10 affirmative model for care with individuals that             10     A     Yes, I have. It's not an uncommon
 11 have sex-discordant gender identity, it certainly            11 occurrence these days where there's increased access
 12 was necessary for me to look in much more depth in 12 to medical studies. Many times patients will even
 13 that particular question than I perhaps have done or         13 come to me, having read an article, seeking my
 14 currently do in other of the diagnoses that are              14 opinion on the article itself. Asking, you know,
 15 present within that manual.                                  15 for advice for interpreting it, or coming to me
 16     Q   And you said you've never formally made a            16 requesting a particular treatment based upon a paper
 17 mental health diagnosis, though, is that correct?            17 that they had heard about.
 18     A   That probably is not correct. I have, for            18             And it's been necessary for me to
 19 example, discovered individuals who have eating              19 discuss with that patient whether that is a basis
 20 disorders that I've been able to -- by making a              20 for accepting or rejecting that request for that
 21 diagnosis, do I include that in billing for that             21 particular intervention. That happens more
                                                       Page 67                                                           Page 69
  1 visit when the visit takes an hour and a half rather          1 frequently than I had when I first started in
  2 than 15 minutes because it requires much discussion           2 medicine, but it's happened throughout my entire
  3 in attempts to get that individual to the care that           3 career.
  4 they need. In that capacity, I have. That's rare.             4     Q     How common would you say that a patient
  5 Most often I am focused on the endocrine issues at            5 and you have a discussion about scientific studies?
  6 hand. Those are the diagnoses I usually make.                 6     A     Not uncommon. I can recall even in the
  7     Q   Have you ever made a formal diagnosis of              7 past week where I've had a handful of discussions
  8 gender dysphoria?                                             8 with my patients related to new technologies that
  9     A   I have not been called to do so, no.                  9 are emerging in the care of diabetes. So it's not a
 10     Q   Is it fair to say, going back to your                10 rare occurrence.
 11 general practice as a pediatric endocrinologist,             11     Q     Have you ever discussed the quality of
 12 when a patient has an endocrine condition, you               12 scientific evidence that supports the efficacy of a
 13 discuss treatment options with your patients and             13 particular treatment with a patient or their
 14 their parents, is that correct?                              14 parents?
 15     A   That is correct.                                     15     A     Yes.
 16     Q   And so without discussing privileged                 16     Q     And how often do you do that?
 17 medical information, have you ever discussed the             17     A     I think it's important, again, depending
 18 state of medical research with a patient when                18 on the question at hand and the necessity to go into
 19 discussing treatment options for a particular                19 varying levels of doubt. Sometimes it could be a
 20 medical condition?                                           20 very brief conversation, but sometimes it could be a
 21     A   All the time.                                        21 very extensive conversation.

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  1     Q   How would a conversation like that go?                  1 them taller.
  2 You know, if I'm a patient, would you -- and I was              2     Q   So the study that you mentioned, the
  3 asking about a particular intervention, would you               3 recent study that showed that there was no cancer
  4 just, you know, start talking about the quality of              4 caused by a particular intervention, was that a
  5 the particular evidence with respect to particular              5 randomized control trial?
  6 intervention?                                                   6     A   I would not summarize the study the way
  7     A   Would it be helpful to give an example?                 7 that you stated it.
  8     Q   Yeah, I think that would be really                      8     Q   Please go ahead.
  9 helpful.                                                        9     A   And the question is, is there an
 10     A   Okay. Just this past week I had an                     10 association between exposure to recombinant growth
 11 individual that was requesting a growth hormone                11 hormone and future cancer risk. And one of the
 12 treatment for ideopathic short stature, meaning they           12 limitations of those types of studies is that people
 13 did not have growth hormone deficiency; they were              13 get cancers for other reasons. And that to be able
 14 predicted to have a low final adult height. And we             14 to make a causal conclusion can be challenging.
 15 had a discussion about whether the potential                   15            This is based upon data, on
 16 benefits of treatment with growth hormone to                   16 population-based data, rather than a potentially
 17 increase stature is justified by the risk of                   17 biased cohort that could be recruited for a study
 18 treatment.                                                     18 over several decades and was able to show that there
 19            In that discussion, I listed side                   19 was no association between exposure to growth
 20 effects of treatment with growth hormone, which are 20 hormone and the outcome of cancer.
 21 rare but significant. Some of them that require                21            And it was done in a manner that
                                                         Page 71                                                         Page 73
  1 significant medical intervention, including                     1 allowed me to be able to present the relative risks
  2 potentially surgery.                                            2 and benefits in a way that was useful in making that
  3            And I recall in that conversation                    3 clinical decision.
  4 just this past week including some reports about the            4     Q   And -- but in terms of when you're talking
  5 potential for cancer risk later in life related to              5 through the safety or efficacy of a particular
  6 growth hormone. And that was based upon a study                 6 intervention, do you only -- let me start over.
  7 that was published in France several years ago,                 7            When you're talking about the safety
  8 based upon low-quality evidence of the degree that I            8 or efficacy of a particular intervention, how common
  9 had to share with them, that while I'm obligated to             9 is it for you to have a randomized control trial
 10 let you know that risk, that we've been treating               10 that actually demonstrates causation to present to a
 11 with growth hormone for decades, and that the                  11 patient?
 12 relative risk is balanced by the potential benefit.            12     A   Depends upon the condition. And the
 13            And then acknowledging that a recent                13 intervention. So when a physician makes a
 14 study came out showing that there was no increased 14 consideration about a treatment recommendation, it
 15 cancer risk. So we had that discussion about prior             15 involves both potential risks and potential
 16 reports and then was able to share with that patient           16 benefits. The higher the risks, the higher the bar
 17 that newer, higher quality data has alleviated any             17 is for demonstrating benefit. If there is limited
 18 potential concerns related to that. And that                   18 proven efficacy in a condition that has significant
 19 allowed that parent to make the decision as to                 19 adverse outcomes, again, it's always a relative
 20 whether or not they were going to allow their child            20 discussion between those factors, and so the degree
 21 to receive growth hormone for the goal of making               21 of evidence that's required to make that

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  1 recommendation, whether it's a strong recommendation              1     Q    When you're talking with patients, do you
  2 or a weak recommendation, is based upon that                      2 actually talk to them about randomized control
  3 risk/benefit analysis.                                            3 trials? Do you use that terminology, or how do you
  4     Q   That would be generally individualized to                 4 discuss that particular topic with patients?
  5 the patient, is that fair?                                        5     A    That's generally not a conversation that
  6     A   There are questions that can be applied                   6 will occur. It depends on the education and the
  7 generally, and there are certainly mitigating risk                7 interest of the patients. I do have some patients
  8 factors that will influence that potential risk to                8 that are physicians, that are scientists, or that
  9 that individual. For example, if I give a drug that               9 have a level of training where they desire to have
 10 is known to alter lipid profiles on an individual                10 that conversation and that would understand the
 11 and I know that they have other major risk factors               11 differences between a cross-sectional analysis of
 12 for cardiovascular disease, that's going to                      12 longitudinal study versus a randomized control
 13 significantly influence the weighing of that adverse             13 trial.
 14 effect in that particular patient.                               14             There are limitations in the clinical
 15            But I don't dismiss the fact that                     15 setting of how much time is available to have these
 16 even if you don't have those risk factors depending              16 conversations. There are circumstances where that
 17 on the magnitude of that risk. And then it also                  17 level of conversation is not required. Generally
 18 relates to alternatives as well. So are there                    18 the role of a physician as a teacher is to do as
 19 alternate interventions that have either --                      19 best as possible to educate the patient, to the
 20 obviously if it had superior efficacy, that's the                20 degree that one can in that clinical context, about
 21 recommendation that would be made. Lower risk and                21 the recommendation that is being made.
                                                           Page 75                                                          Page 77
  1 higher efficacy is a fairly easy decision. The more               1     Q    And in terms of practices in other
  2 difficult decisions are those that have unknown                   2 countries. You mentioned that earlier. Aside from
  3 risks or unproven benefit, and it often becomes                   3 gender dysphoria, how often do you look to the
  4 necessary to make a decision based upon that quality              4 practices of other countries to assess whether a
  5 of evidence.                                                      5 particular intervention is warranted in your
  6     Q     Just so I understand, you're saying that                6 practice?
  7 in certain circumstances you can make broader                     7     A    It's not uncommon at all, particularly in
  8 assessments, sort of bright rules, and in some                    8 areas that have -- so if it's a topic that has been
  9 instances you can be more dependent on the patient                9 adequately discussed within the U.S. medical
 10 in terms of whether or not particular indication --              10 community, it may not be necessary to look to
 11 or whether a particular treatment is advisable in a              11 additional data.
 12 particular situation?                                            12             If it's a question that has not been
 13     A     There are some requests that are made by               13 adequately or rigorously assessed, it is necessary
 14 patients that I can say quite unequivocally that                 14 to look at data from other countries. So the
 15 there is no basis for assuming a risk, because it's              15 European Endocrine Society very frequently will
 16 been proven that there's no benefit. There have                  16 publish papers. I very frequently will read from
 17 been other situations where there are very high                  17 the European journals, for example, on studies that
 18 risks with uncertain benefit, again, weighing on the             18 were conducted in those countries.
 19 side of not recommending that intervention all the               19             There are very frequently drugs that
 20 way up to minimal risk and very strong evidence of a 20 are approved for use in other countries that have
 21 beneficial effect.                                               21 not been studied or approved in the United States.

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  1 And that could be useful as well.                            1 I have not been called upon to specifically engage
  2           There are many circumstances in which              2 in the affirmative model of care for a lot of
  3 that can be very valuable and relevant. It becomes           3 reasons.
  4 increasingly necessary to look at that type of data          4     Q   And just to clarify, have you ever treated
  5 when the data is not available within the U.S.               5 a patient specifically for the condition of gender
  6 medical community.                                           6 identity disorder?
  7     Q   And would you -- can you give an example             7     A   If you're asking me if I have -- by
  8 of a condition where you feel like that data is not          8 treatment, I assume -- maybe I shouldn't assume.
  9 available in the U.S. medical community?                     9 What do you mean by treatment?
 10     A   Certainly. I'll give you one example.               10     Q   Sure. Prescribing either GnHRA [sic],
 11 There are people working in the area of diabetes on         11 puberty blockers or cross-sex hormones.
 12 newer insulin analogs that are more rapid onset,            12     A   So GnRH analogues, also known as puberty
 13 which are going to be beneficial. They've not yet           13 blockers, I have used in the treatment of precocious
 14 been approved here in the United States.                    14 puberty. I have not prescribed them for individuals
 15           Many times the approval processes are             15 that do not have precocious puberty for the purpose
 16 different, and it would be very relevant for me to          16 of the affirmation model. Nor have I prescribed
 17 be able to draw from that knowledge base in being           17 testosterone to a biological female or estrogen to a
 18 able to advise a patient who desires to improve             18 biological male for the purposes of gender
 19 their treatment as to whether that is something that        19 dysphoria.
 20 they should be seeking, if or when it becomes               20     Q   And have you ever diagnosed a patient with
 21 available in the United States.                             21 gender dysphoria?
                                                      Page 79                                                        Page 81
  1     Q   So when was the first time you encountered           1     A   Similar to what I've already responded to
  2 gender dysphoria as a concept?                               2 previously about that question, I've not been called
  3     A   It was over a decade ago. In passing, I              3 upon to make a formal diagnosis of gender dysphoria
  4 had recalled as early as maybe 2009, 2010, my                4 for any of the patients that I encounter, even in
  5 colleagues discussing this. It was -- but not in             5 the setting where they have been -- have had that
  6 any substantive way.                                         6 diagnosis made by other individuals.
  7           My entry into the more detailed study              7     Q   Have you ever referred a patient to
  8 of this came shortly after I assumed the position as         8 another healthcare provider for treatment of gender
  9 chief of our division of pediatric endocrinology at          9 dysphoria to mean either the prescription of puberty
 10 my institution.                                             10 blockers or cross-sex hormones?
 11           And one of my colleagues approached               11     A   So you're asking me -- well, to be able to
 12 me wanting to discuss the topic of affirmative              12 answer that question, you know, I have to be able to
 13 medical interventions. That was the first time that         13 adequately convey my assessment of that question of
 14 I was required to begin my investigation by reading         14 relative risk versus relative benefit.
 15 what was available in the medical literature in             15     Q   So in terms of just as an example, if a
 16 addressing this question.                                   16 patient came to you and said -- and was seeking
 17     Q   Have you ever treated a patient                     17 either puberty blockers or cross-sex hormones or a
 18 specifically for the condition of gender dysphoria?         18 diagnosis of gender dysphoria, you would not refer
 19     A   I have encountered many patients with               19 them to another provider to get that care, is that
 20 gender dysphoria in my practice in addressing their         20 correct?
 21 diabetes, their thyroid disease, their dyslipidemia.        21     A   I have not encountered a patient that has

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  1 come to my clinic asking for that. So therefore                   1 respect to individuals who have a disorder of sexual
  2 I've not been in the situation where I have been                  2 development?
  3 asked to make such a referral.                                    3     A    I am referring in that particular
  4     Q      And have you personally treated any of the             4 statement, the questions that often arise in these
  5 minor private plaintiffs in this lawsuit?                         5 individuals that have disorders of sexual
  6     A      No.                                                    6 development, related to when we're talking about
  7     Q      So going back to your report. I know it's              7 gender as opposed to sex, as far as the lived
  8 been a while.                                                     8 expression of their sexual identity, that I think is
  9              Andrew, do you want to pull up                       9 quite useful, not only in understanding the question
 10 Doctor Hruz's report, please.                                    10 of disorders of sexual development, but also as it
 11              Doctor, we're going to paragraph 11                 11 pertains to this question of sex-discordant gender
 12 of your report.                                                  12 identity in individuals that do not have disorders
 13              Thank you, Andrew.                                  13 of sexual development.
 14              So in the report you state that I was               14     Q    And Andrew, could you go to the next page,
 15 a founding member of the multidisciplinary disorders 15 paragraph 12?
 16 of sexual development, DSD program at Washington 16                            Doctor, we're moving to paragraph 12.
 17 University. I continue to contribute to the                      17 It talks about -- I'll read it: In my role as a
 18 discussion of complex cases in the advancement of                18 scientist and as the director of the Division of
 19 research priorities in this field.                               19 Pediatric Endocrinology at Washington University, I
 20              In the care of these patients, I have               20 extensively studied the existing scientific research
 21 acquired expertise in the understanding and                      21 literature related to the incidence, potential
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  1 management of associated difficulties and gender                  1 etiology and treatment of gender dysphoria as
  2 identification and gender transitioning treatment                 2 efforts were made to develop a transgender medicine
  3 issues.                                                           3 clinic at St. Louis Children's Hospital.
  4             Did I read that correctly, Doctor?                    4            So I just had a couple of questions
  5     A     I wasn't looking at the text when you were              5 about that time. So when did you first find out
  6 reading, but yes.                                                 6 about the efforts to establish the transgender
  7     Q     That sounds along the lines of what you                 7 medicine clinic at St. Louis Children's?
  8 wrote. Okay. So one question is, how do you define                8     A    In response to a prior question, this was
  9 gender transitioning treatment issues?                            9 shortly after I assumed the position of chief of our
 10     A     So in the field of disorders of sexual                 10 division that a member of my faculty approached me
 11 development, it's important to recognize that in                 11 asking to be able to start this particular center.
 12 this unique situation, the sexual identity of that               12 And that was around 2011, 2012.
 13 individual may or may not be known. And because one              13     Q    So what was your initial reaction when you
 14 is dealing with situations of ambiguity, both in                 14 first heard that this was under consideration?
 15 etiology and outcomes, it is necessary to include in             15     A    As I do in any other area, as a
 16 treatment recommendations a careful assessment of                16 physician-scientist, was to ask questions. That's
 17 both of how we can best manage that individual to                17 exactly what I did. So I sought to understand what
 18 allow them to be able to function as fully as they               18 was being proposed. I sought to understand the
 19 possibly can, given the condition that they have.                19 purported role of the endocrinologist in the care of
 20     Q     And so in that particular statement, are               20 these individuals, and I began the process of not
 21 you talking about gender transition only with                    21 only clarifying questions with my colleague, plans

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  1 for the center as far as what was being proposed to             1 because it's stated in ways that are broad and more
  2 be offered, the number of individuals, and the types            2 specific. If you ask me a question related to the
  3 of individuals that would be necessary to be able to            3 role of the endocrinologist, I will be responding in
  4 open this center, logistical issues, and the                    4 terms of how an endocrinologist would be called upon
  5 available scientific evidence.                                  5 to deliver medical interventions, and namely that
  6     Q    You said the purported role of the                     6 would be the GnRH agonist to interfere with normally
  7 pediatric endocrinologist. So were you initially                7 timed puberty. Or the administration of sex-related
  8 skeptical that pediatric endocrinologists had a role            8 hormones in a sex-discordant manner, meaning
  9 here?                                                           9 estrogen to a biological male, and testosterone to a
 10     A    I'm a physician-scientist, and I think                10 biological female.
 11 that to make a conclusion before one's looked at               11             So it depends on the way that you ask
 12 evidence is very detrimental to the process. And so            12 the question. But that's how I interpret that as a
 13 therefore, my initial engagement was, as I often do,           13 pediatric endocrinologist because generally that is
 14 is to ask questions to understand and reserve a                14 how we are being asked to engage in that particular
 15 definitive conclusion until I was able to do so.               15 question.
 16             I did, however, question some of the               16     Q   Going back to when, you know, this
 17 premises that were being stated at that time as to             17 question of the gender clinic at St. Louis
 18 their validity relating to questions about sexual              18 Children's was being discussed. You said that you
 19 identity.                                                      19 went about and did research. How did you go about
 20     Q    Can you speak more on that, why you had               20 reviewing the existing literature related to
 21 some questions?                                                21 gender-affirming care?
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  1     A   It was around this time that I first                    1     A   Well, I would say that my initial
  2 encountered the term born in the wrong body. And I              2 investigation was not limited to the scientific
  3 had questions to my colleague about what they meant             3 literature. It involved discussions with
  4 by the word sex and what they meant by the word                 4 colleagues, not only at our institution, but at
  5 gender. This was not only being discussed at this               5 other institutions in the United States, in an
  6 time at my institution; around that same time, it               6 attempt to learn about the condition firsthand from
  7 was beginning to be discussed at the national                   7 parents that had encountered individuals with this
  8 meetings.                                                       8 particular condition, and a search through the
  9           And I remember the initial                            9 literature that was published on this model.
 10 presentation at that Pediatric Endocrine Society               10             And that included some of the initial
 11 meeting where this affirmative model was being                 11 studies in what is often referred to as the Dutch
 12 proposed that many of my colleagues were asking                12 model. For example, the initial de Vries studies
 13 exactly the same questions about premises that I was           13 and some of the other papers that were beginning to
 14 asking in this regard.                                         14 emerge.
 15     Q   Just so that -- because I think the term               15     Q   And could you just walk through the
 16 will keep -- when you say the affirmative model, are           16 discussions that you had with colleagues about this
 17 you specifically talking about medical                         17 particular area of gender-affirming care back around
 18 interventions, or could you elaborate just so that             18 2011 when you were learning about gender dysphoria?
 19 we have the same working understanding? When you               19     A   Certainly. I can recall conversations --
 20 say the affirmative model, what do you mean?                   20 well, I don't remember all of the conversations. It
 21     A   I think it's a very important question                 21 was many years ago. But some of them are very

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  1 memorable to me. In particular, I remember a                  1 recall any specific conversations you had with
  2 conversation at the national meeting where this               2 Doctor Spack about a --
  3 particular model of care was presented for the very           3     A   Doctor Spack was invited to Washington
  4 first time. And at that time, it was recognized as            4 University to speak to our group. And we convened a
  5 being highly controversial, and the discussion was            5 panel discussion to have basically a roundtable
  6 whether we should proceed with the Dutch model or             6 discussion as well on this issue.
  7 not.                                                          7           I do recall the data that he
  8           There are many statements that were                 8 presented in a manner that he was quite convinced of
  9 made at that meeting that required clarification,             9 and did call into question really the rigor of that
 10 that were not adequately addressed at that initial           10 conclusion that he had been able to make.
 11 meeting. And a plan was made at the next year's              11           I think also in that conversation
 12 meeting to convene a panel to be able to discuss             12 there were questions that came up about these
 13 this in more detail.                                         13 scientific premises that were being stated as in
 14           Indeed, that following year there was              14 relation to this particular question as well.
 15 a panel discussion on this topic. I was not happy            15     Q   And could you briefly touch on any
 16 with the fact that the panel was comprised only of           16 questions -- or any conversations you had with
 17 individuals that supported the affirmative model.            17 Doctor Pullman about the same, along the same lines?
 18 That there were certainly no representation of               18     A   Yes. In particular, I had a more
 19 people that were raising the questions that I                19 intensive conversation with Doctor Pullman pointing
 20 were -- was raising regarding this. I brought that           20 out the poor quality of scientific studies that were
 21 to the attention of the organizer of the meeting who         21 available. In fact, I had mentioned to him thoughts
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  1 admitted that there wasn't adequate representation            1 I had about ways that we could ethically conduct the
  2 of all sides, and nevertheless the conversation               2 scientific studies that needed to be done in a
  3 proceeded.                                                    3 rigorous manner. That my concern about not only
  4           I remember conversations with some of               4 risks, but also potential benefit.
  5 the individuals that continued to be engaged in this          5             And I recall very distinctly in that
  6 affirmative model and raised my questions about               6 conversation that when challenged about the
  7 outcomes as far as treatment goals, scientific                7 scientific evidence itself and the weaknesses that
  8 premises, risks and benefits. And so it was                   8 were present in that, that he was not able to
  9 presented as we do initially, as we do in other               9 respond to those questions, and generally resorted
 10 areas of medicine, to be able to have that dialogue          10 to expert opinion, meaning that he would, rather
 11 asking critical questions.                                   11 than looking at the studies, say that in my own
 12           It became apparent to me after a                   12 experience I have seen X, Y, or Z.
 13 short period of time that that normal scientific             13             I've left the door open for ongoing
 14 process was being subverted by individuals that did          14 conversation. Unfortunately, that has not occurred.
 15 not, that -- or conclusions on this particular               15     Q    When you say that there is a way to
 16 model, and it became increasingly difficult to have          16 ethically conduct a study, are you specifically
 17 those conversations.                                         17 talking about ethically conducting a randomized
 18           I do include in my declaration a few               18 control trial to measure long-term benefits of
 19 of those individuals that were involved in some of           19 gender-affirming care? Or what specifically are you
 20 those earlier conversations.                                 20 talking about?
 21     Q   I believe Doctor Norman Spack, do you                21     A    There are a number of ways to address that

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  1 question that is not limited to that particular                  1 having right now, it would be very difficult, if not
  2 trial design that you mentioned. There are many                  2 impossible, to be able to fully present how that
  3 false assumptions that are often made about how such             3 might be done.
  4 a trial could be conducted.                                      4             There is a major concern that one has
  5           There are critical questions that one                  5 when one looks at the existing data that has been
  6 needs to address that would maintain both the                    6 published in this area that a confounder that is
  7 scientific rigor and also safety of any study                    7 present in most of the studies that claim that there
  8 participants.                                                    8 are benefits of the affirmative model of the
  9           And I have been very much willing to                   9 co-occurrence of psychiatric interventions,
 10 share those thoughts on those research trials. Many             10 psychological interventions that are being done at
 11 of my colleagues here in the United States have not             11 the same time.
 12 even been willing to enter into that dialogue. I am             12             A very relevant and necessary
 13 finding much more recognition of that in the                    13 question as hypothesis is whether or not any
 14 European community, especially as they move toward a            14 benefit, if seen, is due to the affirmative
 15 questioning of the affirmative model and have                   15 intervention itself or to the receipt of that
 16 established a requirement that pediatric patients               16 psychological care.
 17 that are exposed to these affirmative interventions             17             In way that is often falsely asserted
 18 be enrolled in experimental protocol, and they have             18 that is unethical to do a randomized control trial,
 19 been much more receptive to that conversation that I            19 is to present the control group as receiving
 20 have been attempting to have with my colleagues in              20 nothing. And I think that is a mistake. I think
 21 the United States for many years.                               21 that one can propose two different interventions
                                                          Page 95                                                          Page 97
  1     Q    So if you could just briefly speak to what              1 that have reasonable hypotheses as to a potential
  2 a research design that is ethical that could measure             2 efficacy in a controlled research setting under the
  3 the safety or efficacy of gender-affirming care,                 3 review of an institutional review board where the
  4 what that would look like?                                       4 safety of these individuals can be assessed for
  5     A    Your question about what a scientific                   5 limited time periods with limited focus on treatment
  6 study would look like that could be conducted in a               6 outcomes in a way that will allow one to address
  7 rigorous and safe manner is rather broad. I could                7 that question.
  8 address a number of different topics. Maybe if you               8             There's already existing evidence
  9 can narrow it down a little bit, I can more easily               9 about the potential efficacy of the psychological
 10 be able to answer that question.                                10 interventions of themselves independent of
 11     Q    So do you -- maybe I could try to think                11 affirmative care. Generally they're done in a way
 12 what is a good way -- do you have an example of a               12 that doesn't have the scientific rigor one needs to
 13 particular research design that you think could                 13 address that question.
 14 establish causation or perhaps disprove causation               14             So that -- and the other mistake
 15 between, you know, a particular intervention related 15 that's often made is to erroneously state that one
 16 to gender-affirming care -- do you have an idea in              16 needs to have a blinded study to be able to address
 17 mind of what that research design would look like?              17 that question. Depends on the hypothesis that is
 18         MR. MILLS: Objection.                                   18 being asked. The outcome that is being measured.
 19     A    Let me address your question as best I                 19 And it is not a requirement that a study be blinded.
 20 can. The challenge I'm having in addressing that is             20 There are many situations where that would not be
 21 that in the context of a conversation like we're                21 feasible.

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  1           So that's a general -- it would                      1 model and has specifically directed interventions to
  2 require -- and this is -- those that design clinical           2 prioritize these psychological approaches over the
  3 trials spend hours upon hours discussing the design            3 medical hormonal interventions, GnRH agonist, and
  4 of the clinical trial, how they could craft it in a            4 cross-sex hormones, and stipulated that those
  5 way that would allow one to answer the study -- or             5 medical interventions would need to be administered
  6 the study question in a rigorous manner, being able            6 in the setting of a -- in experimental study.
  7 to get insight into causal relationships rather than           7           There are valid means by which one
  8 mere associations.                                             8 could conduct a longitudinal study that might
  9           And I have offered to be present in                  9 provide useful information with all of the necessary
 10 designing those studies on numerous occasions with 10 requirements to be able to have adequate controls.
 11 my colleagues.                                                11           In terms of a randomized control
 12 BY MS. WILLIAMS:                                              12 study, one would need to ensure that with the
 13     Q   Just a couple follow-up questions to make             13 assistance of an institutional review board, that
 14 sure I understand. So when you talk about there               14 these individuals are being monitored in a manner
 15 could be a design that would allow for two different 15 that provides further safety.
 16 interventions. So -- and correct me if I'm not                16           There's already examples that I'm
 17 stating this correctly, but this is what I heard.             17 aware of of individuals that have not received the
 18 You have two different interventions. So one would 18 prioritization of psychological issues and addressed
 19 be psychological support, and the other would be              19 that in an interventional manner before proceeding
 20 medical intervention like puberty blockers or                 20 to the medical interventions. One would need to
 21 cross-sex hormones. Am I understanding that                   21 discuss ethically how that group could be studied in
                                                        Page 99                                                        Page 101
  1 correctly? Would that be the type of design you                1 a rigorous manner that would ensure the safety of
  2 would be thinking about here?                                  2 the patients.
  3     A   It is an example. Require much more data               3    Q    So I think you also just spoke a little
  4 as far as how -- it would be overly simplistic and             4 bit in your report.
  5 problematic to leave it at that level. To ensure               5           Andrew, if we can go to paragraph
  6 that the question would be adequately addressed in a           6 125.
  7 safe and efficacious manner.                                   7           Doctor, if you could proceed there as
  8     Q   One question I did have, though, in terms              8 well.
  9 of how gender dysphoria is treated clinically is               9           Thank you, Andrew.
 10 that generally -- well, I guess would you have a              10           So in paragraph 125, you note that
 11 situation where a person would not be receiving               11 while it might be true that prospective research
 12 psychological support in addition to medical                  12 subjects would reject enrollment in a trial
 13 intervention such that you can separate those two?            13 comparing affirmative care with no care, proper
 14 Does that make sense in terms of a design question? 14 discussion of the inherent risk of gender-affirming
 15     A   I'm not sure I fully understand your                  15 interventions, the lack of data showing long-term
 16 question. So I think that one of the aspects of               16 resolution of suicidal ideation and the goal of
 17 your question, you know, is -- let me -- maybe let            17 alleviating dysphoria through alternative means can
 18 me approach it in what's already going on now in              18 provide a reasonable expectation of enrolling a
 19 Europe.                                                       19 sufficient number of study subjects.
 20           Europe has raised many questions                    20           Did I read that correctly?
 21 about the safety and efficacy of the affirmative              21    A    You did.

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  1     Q   So just trying to get a sense of what your          1 area of importance.
  2 basis is for the statement that you would have a            2     Q   To your knowledge, that research has not
  3 reasonable expectation of enrolling a sufficient            3 been done in the area of gender dysphoria, is that
  4 number of study subjects?                                   4 correct?
  5     A   The statement was written in response to            5     A   So do I have any data that a research
  6 Doctor Annamaria's false assertion that it would be         6 trial that has yet been proposed, what the outcome
  7 impossible to recruit patients for such a study.            7 would be, the answer is no. It's impossible for me
  8 And I presented a number of considerations that I           8 to predict until it's actually proposed to be able
  9 think would certainly change how one would make a           9 to have that information.
 10 decision about whether to enroll in the study or           10             I have served as a reviewer on
 11 not.                                                       11 clinical study sections for the National Institute
 12           If one was aware of the questions                12 of Health, and one of the requirements when we
 13 about efficacy that are currently available, if one        13 assessed the rigor of a research proposal is the
 14 was aware about the existing evidence showing that         14 likelihood that the investigators will be able to
 15 psychiatric comorbidities continue to exist after          15 recruit the necessary patients that they propose.
 16 one engages in the affirmative model, if one               16             So it's a part of the analysis, and
 17 properly looked at the issues of suicidal ideation         17 it's part of the normal review process that one does
 18 and other outcome measures in the way that the data 18 in assessing the merits of a particular research
 19 already shows, rather than presenting this as              19 protocol.
 20 something that has been established to have                20             And again, there are many
 21 efficacy, which is often those statements are made         21 considerations on that. I have direct experience in
                                                    Page 103                                                        Page 105
  1 repeatedly, it would certainly influence the                1 making that analysis, and therefore I have a basis
  2 willingness of anyone to engage in this.                    2 of proposing as a hypothesis a means by which one --
  3           And there's many examples where                   3 if I was writing a research grant -- to provide the
  4 individuals that have received the affirmative model        4 data that would support the funding of that research
  5 have even explicitly stated that had they been given        5 study if I were to do so.
  6 the information, they may have made different               6     Q   So when you say there could be a
  7 decisions. That is -- that's not a scientific               7 reasonable expectation of enrolling a sufficient
  8 study, by the way. This is evidence that is                 8 number of study subjects, is that -- would you
  9 emerging in our current dialogue on this topic.             9 characterize that as a hypothesis?
 10     Q   And is there a particular study or                 10     A   I would say that if one is going to invest
 11 anywhere you can point to in the literature that           11 money in conducting a research study, one needs to
 12 would support the idea that a design like this where       12 demonstrate that one, at the end of the study, is
 13 you would have these particular additional data            13 going to have sufficient power to be able to draw a
 14 points for potential test subjects, that that would        14 valid conclusion. And one needs to provide evidence
 15 increase enrollment in that particular study?              15 by which the patients can be recruited.
 16     A   There is a very -- now, independent of             16             The hypothesis is always based upon
 17 gender dysphoria, there is extensive literature on         17 the study intervention. And generally there is data
 18 the conduct of clinical trials and the necessity of        18 that one can draw upon, not seen, but potentially
 19 providing -- of enrolling subjects and many of them        19 different situations that one can use. I think it's
 20 have been used for decades to be able to assist in         20 very well-known that when one is consenting for a
 21 the process of conducting a clinical trial in an           21 trial, that one provides the prospective study

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  1 subject with all of the relevant information that             1 available information, knowing that many times the
  2 they need to be able to consent to that                       2 psychological comorbidities predate the onset of
  3 participation.                                                3 gender dysphoria, that the affirmative approach
  4           And this includes any discussion in                 4 alone is often accompanied by persistence of these
  5 response to Doctor Annamaria's false assertions               5 psychological comorbidities and existing literature
  6 about equipoise as far as what is known and what is           6 about related outcomes like suicidality that do
  7 not known about that particular affirmative model             7 improve for other conditions independent of gender
  8 versus potential alternative approaches.                      8 dysphoria in having those beneficial outcomes.
  9     Q   When you say that there is -- when you say            9              So there's much that's already known
 10 a sufficient number of study subjects, how many              10 and to make valid and I would say relatively strong
 11 study subjects would you consider to be a sufficient         11 hypotheses as to the potential benefit of
 12 number for this type of study?                               12 psychological care to this patient population.
 13     A   That is a question that relates to power,            13     Q   Do you believe that gender-affirming
 14 and it requires to the error of the measurement that         14 medical treatment for minors should be permitted by
 15 you're making. It relates to the magnitude of                15 law in the context of a clinical research trial?
 16 effect one would need to see, to not only have a             16     A   So are you asking me to make -- to opine
 17 statistically important conclusion but a clinically          17 on a legal question as a physician-scientist?
 18 significant conclusion as well.                              18     Q   If you have an opinion.
 19           So that can't be asked or answered                 19     A   I would say that my preference would be
 20 directly unless you have all the other information           20 that science in this area is conducted in the
 21 available.                                                   21 rigorous manner that it is in other disciplines that
                                                      Page 107                                                         Page 109
  1     Q   And just to clarify when you say in this              1 would obviate the need for any legal intervention in
  2 quote, alleviating dysphoria through alternative              2 this area.
  3 means, what do you mean by that?                              3              My colleagues have not been able to
  4     A   Something other than the administration of            4 address this within their profession themselves.
  5 puberty blockers or cross-sex hormones.                       5 And my understanding, at least as an observation,
  6     Q   Would that generally be mental healthcare?            6 that is what led to the necessity to have these
  7     A   It could include mental healthcare, yes.              7 types of court cases related to this.
  8     Q   Are there other alternatives that come to             8     Q   So I know we've been going for probably
  9 mind?                                                         9 another hour. Would you be amenable to another
 10     A   One can propose a number of different                10 break, Doctor?
 11 hypotheses. The main question right now is whether 11               A   My preference would be to keep going, but
 12 the administration of puberty blockers and/or                12 if you desire a break, I'd be happy to take one.
 13 cross-sex hormones is the means to alleviate the             13     Q   Could we take maybe five minutes?
 14 suffering that exists in this patient population.            14     A   Very good.
 15           And the question that has often been               15     Q   See everyone back at 32 after.
 16 asked is the degree to which psychological                   16                 (A recess was held.)
 17 comorbidities are responsible or contributing to the         17         MS. WILLIAMS: We can go back on.
 18 negative mental health outcomes that individuals are 18 BY MS. WILLIAMS:
 19 experiencing.                                                19     Q   So, Doctor, we're going to go back a
 20           I think it is definitely a strong and              20 little bit more into your report, so we're doing
 21 valid hypothesis to state with the currently                 21 more skipping around. Apologies.

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  1              Andrew, we're going to go to page                 1 percent of individuals who correctly recognizes the
  2 seven.                                                         2 sexual identity by merely looking at the appearance
  3              So, Doctor, this would be paragraph               3 of the external genitalia.
  4 14.                                                            4     Q   Is it fair to say in your report that you
  5              Thanks, Andrew.                                   5 mention the incidence rate of disorders of sex
  6     A    I'm there.                                            6 development a few times?
  7     Q    So you state in paragraph 14 that sex is              7     A   Correct.
  8 not "assigned at birth"; it is permanently                     8     Q   What is the significance of that
  9 determined by biology at conception. Did I read                9 particular point?
 10 that correctly?                                               10     A   Well, there are a couple of important
 11     A    That sounds like something I would have              11 caveats to the discussion that we were having this
 12 said, yes.                                                    12 morning. One is that there are very few medical
 13     Q    Now, turn -- go down to paragraph 19. So             13 conditions that one has the error rate being that
 14 that's on page 10. And that paragraph discusses               14 low as far as recognizing the sexual identity of an
 15 medical care for persons with disorders of sexual             15 individual. That's a fairly robust and accurate
 16 development, is that correct?                                 16 assessment of sexual identity for the vast majority
 17     A    That is correct.                                     17 of individuals.
 18     Q    So staying within paragraph 19, you state            18           The other important caveat is that
 19 that "In previous years the general practice was to           19 many times many -- that the numbers are distorted to
 20 make a definitive sex assignment slowly --                    20 include individuals into the category of ambiguous
 21 shortly -- sorry -- sex assignment shortly after              21 genitalia where sex assignment is necessary rather
                                                       Page 111                                                          Page 113
  1 birth, the belief being that this would allow                  1 than a certainty of identity based upon the
  2 patients with a disorder of sexual development to              2 observable phenotype in individuals that really
  3 best conform to the assigned sex and                           3 don't have ambiguity. So I think it's a distortion.
  4 parents/caregivers to help socialize the child to              4           And it's also important in the
  5 the assigned sex."                                             5 conversation about disorders of sexual development
  6              Then you continue.                                6 is to recognize that nearly all of the individuals
  7              "Current practice is to defer sex                 7 that we're talking about that are being exposed to
  8 assignment until the etiology of the disorder is               8 the affirmative model do not have disorders of
  9 determined, and if possible, a reliable prediction             9 sexual development as defined.
 10 can be made on likely biologic and psychologic                10     Q   I'm sorry. Could you say that last part
 11 outcomes."                                                    11 again? I wasn't sure if I followed. Just that last
 12              So did I read that correctly, or is              12 piece there.
 13 that generally along the lines of what your views             13     A   Well, let me clarify. The vast majority
 14 are on this topic?                                            14 of individuals that experience sex-discordant gender
 15     A    Correct. In the cases of disorder of                 15 identity have normally formed and functioning
 16 sexual development that affects 0.02 percent of the           16 reproductive organs at the time of birth, as opposed
 17 population, one is not able to necessarily correctly          17 to the small subset that have a disorder and that
 18 recognize the sexual identity of that individual.             18 differentiation process leading to sexual ambiguity.
 19 And in that situation, one is making a presumptive            19     Q   So a couple of questions just on -- is it
 20 determination based upon available evidence.                  20 okay if we call this DSDs? Do you know what I'm
 21              That is not true for the 99.98                   21 talking about when I say DSDs, Doctor?

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  1     A    Yes.                                                     1 to sex, right?
  2     Q    So first of all, so you mentioned that the               2     A    I am recognizing the fact that in these
  3 current practice for somebody with a DSD is to defer 3 rare individuals, there is ambiguity. And,
  4 sex assignment until the etiology of the disorder is              4 therefore, as opposed to the individuals that don't
  5 determined and a reliable prediction can be made on               5 have DSDs, that one does not -- so the uncertainty
  6 likely biologic and psychologic outcomes. Do you                  6 about the sexual identity is going to be influenced
  7 follow that practice?                                             7 by the degree of ambiguity.
  8     A    Mostly certainly, yes.                                   8            When sexual organs are normally
  9     Q    Could you explain the role of psychologic                9 formed and functioning, there's certainty about
 10 outcomes in making a sex determination in the DSD 10 sexual identity. The greater the degree of
 11 context?                                                         11 ambiguity, the less confidence one has in
 12     A    Well, the first goal of evaluating an                   12 recognizing that sexual identity.
 13 individual that is born with a DSD is to understand              13            In using the term assigned sex in
 14 the etiology, because that will influence outcomes.              14 these rare individuals, it acknowledges the fact
 15 Whether they're going to be able to engage in sexual 15 that new information be -- may become available that
 16 interaction, whether they're going to have                       16 will help in being able to be recognize what went
 17 fertility, and in which particular role in the                   17 awry in the sexual differentiation process and how
 18 reproductive process that these individuals will be              18 they might respond to treatment.
 19 able to have that role.                                          19            A great example of that is a
 20            Most of them are going to have                        20 virilized female with congenital adrenal
 21 infertility, if not sterility. That's the first and              21 hyperplasia. At the time of birth, one may not be
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  1 foremost most important, and many of the conditions 1 able to make a recognition of the sexual identity.
  2 that present at that time of life have                            2 But by knowing the etiology of that condition, by
  3 life-threatening risks associated with that that's                3 recognizing elevated adrenal steroid hormone levels,
  4 necessary in making that diagnosis to treat them                  4 the presence of XX chromosomes, one can make with
  5 appropriately.                                                    5 certainty a determination of the etiology, and
  6            There are some individuals that the                    6 correctly in that case recognize the sexual identity
  7 ability to determine precisely the etiology is                    7 that is present.
  8 delayed or cannot be made.                                        8     Q   So in light of the DSD example, wouldn't
  9            There are individuals that have a                      9 you agree that sex in some cases is assigned after
 10 degree of ambiguity for which that sexual identity               10 conception?
 11 cannot be known with certainty. And therefore one                11     A   I want to make sure we use proper terms.
 12 needs to consider and prioritize -- again, the goal              12 Are you asking whether it's correctly recognized
 13 is always restoration to health, to allow a person               13 after the time of conception?
 14 to experience human flourishing by functioning in                14     Q   So I guess what I'm trying to ask about is
 15 the area of DSD as in the area of sex.                           15 at the outset, you made a statement saying sex is
 16            And so it is important when you have                  16 not assigned at birth; it's permanently determined
 17 those rare individuals that have that ambiguity to               17 at conception. But in cases of disorders of sex
 18 do one's best trying to maximize outcomes in all the 18 development, this discussion, you're saying that in
 19 dimensions that we consider relevant to health.                  19 those cases, sex is actually assigned after
 20     Q    So in paragraph 19, in this discussion you              20 conception, and so my question was in some cases is
 21 are using the term assignment, though, as it relates             21 sex assigned after conception?

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  1     A    I would not use the word assigned. I                   1 that look like ovaries and testes. In that
  2 would say that it is still true that the                        2 situation, it is not possible for the treating
  3 developmental outcome is determined, but it is not              3 physician to be able to make that determination.
  4 complete until that differentiation process occurs.             4             And in that setting, there is a
  5              And so, for example, so the                        5 conversation with the family based upon what we do
  6 assignment -- we're not making an assignment. We're 6 know, and it can include considerations that are not
  7 trying to recognize the sexual identity of that                 7 guaranteed, about how that individual may best be
  8 individual as it exists, and there are factors that             8 able to function sexually later in life.
  9 influence that developmental process of sexual                  9             The difference now as it was when I
 10 differentiation during that in utero life.                     10 first trained 30 years ago is that we don't believe
 11     Q    So are you saying that in paragraph 19                11 that we need to make that definitive at that point
 12 then the word assignment is inappropriate?                     12 in time because there can be additional information
 13     A    I would say it is appropriate that the                13 that becomes available later that influences that
 14 clinician who's caring for that individual is                  14 decision that is not known at the time that we're
 15 recognizing that their ability to make that accurate           15 initially seeing that patient.
 16 determination of sexual identity is impaired. And              16       Q   So we're going to move off of this
 17 therefore what the clinician is doing in that                  17 discussion.
 18 situation is assigning based on the knowledge that's           18             Andrew, could we go to paragraph 62,
 19 present at that moment of time what that reality is            19 please.
 20 within that individual.                                        20             And Doctor as well. It is on page 32
 21     Q    Staying on paragraph 19, you talk about --            21 of the document. Are you there, Doctor?
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  1 you state, "Factors used in making such decisions               1       A   Not yet.
  2 include karyotype 46XX, 46XY, or other phenotype                2       Q   Let me know when you get there.
  3 appearance of the external genitalia and parental               3       A   Which number of paragraph are we looking
  4 desires."                                                       4 at?
  5             Did I read that correctly?                          5       Q   62.
  6     A   That's correct.                                         6       A   Okay.
  7     Q   How are parental desires relevant here if               7       Q   In 62, you state, very few
  8 sex is biologically based?                                      8 gender-dysphoric children still want to transition
  9     A   Again, we're talking about rare                         9 by the time they reach adulthood. Many turn out to
 10 individuals where so many of these individuals we              10 have been struggling with sexual orientation issues
 11 will, once we understand the etiology, be able to              11 rather than gender-discordant transgender identity.
 12 make that definitive recognition of the sexual                 12             Did I read that correctly, Doctor?
 13 identity that is present.                                      13       A   Yes, you did.
 14             There are individuals that, after one              14       Q   So are there any studies that you can cite
 15 engages in that search for etiology, one is left               15 to to support the statement that many children who
 16 with continued ambiguity.                                      16 don't persist in their gender identity are
 17             The best example that I have are                   17 struggling with sexual orientation issues?
 18 individuals that have a condition known as mixed               18       A   The data, if it's not present in the
 19 gonadal dysgenesis where they have both a mosaic               19 references that I include, are based upon the data
 20 pattern of XX chromosome and XY chromosomes, they              20 on those individuals that had this experience of
 21 may have gonads that have structural characteristics           21 sexual-discordant gender identity when followed

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  1 longitudinally. Many of them will end up having                1     Q   There is no objective scientific task that
  2 same-sex attraction as adults.                                 2 would predict a person's sexual orientation, is that
  3     Q   So there's not a specific study that                   3 correct?
  4 specifically reaches that conclusion, is that what             4     A   That is correct.
  5 you're saying?                                                 5     Q   Doctor, in this discussion, is there a
  6     A   That's not what I'm saying. I'm saying                 6 distinction between prepubertal children with gender
  7 there is evidence that the majority of those                   7 dysphoria and adolescents who have gender dysphoria
  8 individuals that had that experience, when followed            8 with respect to whether their gender dysphoria
  9 longitudinally over time, will have sex-discordant             9 persists?
 10 gender identity and acknowledge and state that that           10     A   So in response to the question about
 11 was the main issue at the time they were presenting. 11 prepubertal or pubertal onset of gender dysphoria,
 12     Q   But is there a specific study that                    12 there are many, many questions and aspects of that
 13 examines that particular question?                            13 that would need to be addressed.
 14     A   There is. If I did not include it -- I'm              14             One of the observations is that from
 15 looking through my references that I have already             15 a demographic, that the incidence and prevalence has
 16 listed in here. This is in the older literature               16 changed over time. There have been influences
 17 looking at some of the follow-up data. I have to              17 related to interventions that have been made
 18 look back at the exact studies. It's been a while             18 historically and more currently that influence that
 19 since I read the (unintelligible) study or the                19 trajectory.
 20 (unintelligible) study. I think some of Zarfer's              20             And -- but what can be said, and I
 21 work also shows that as well. But there are                   21 believe I did say that in my report, is that prior
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  1 published papers that demonstrate that. If they                1 to -- I mean, the historical data has suggested that
  2 weren't directly included as references, that can be           2 this was a condition that predominantly affected
  3 provided.                                                      3 biologic males identifying as females, majority of
  4     Q    That would be great if you're able to                 4 them presenting in the prepubertal time of life, the
  5 provide those, but -- that would be great.                     5 majority of those, when followed longitudinally
  6     A    I do believe that they are included in at             6 having reorientation of their sexual identity and
  7 least to some degree in the references that I did              7 their gender identity, that currently the largest
  8 include in my report.                                          8 demographic is biological females expressing a male
  9     Q    But not particularly for that proposition,            9 gender identity, and predominantly individuals that
 10 but just within the discussions in those studies, is          10 are presenting postpubertally. So I think there's
 11 that what you're saying?                                      11 been a change. There have been influences that one
 12     A    I'm saying that my statement about the               12 can speculate as far as how those two patient
 13 large number of these individuals that are having             13 populations are different and distinct.
 14 later-in-life issues of sexual orientation is                 14     Q      So you're saying --
 15 included in those studies.                                    15               Actually, I'm going to -- Andrew,
 16     Q    Are you saying that the sexual orientation           16 could you pull up document two, please? So I'm
 17 issues are the source of the gender dysphoria? Is             17 going to mark document two as Exhibit B for the
 18 there a causal relationship there I guess is what             18 court reporter.
 19 I'm asking?                                                   19                  (Hruz Deposition Exhibit B was
 20     A    I am not saying that. I don't have data              20                  marked for identification.)
 21 to be able to make that statement.                            21

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  1 BY MS. WILLIAMS:                                              1     Q    On page two of the PDF, and I know you
  2     Q   Doctor Hruz, I see you nodding. I assume              2 don't have this in front of you, so I'll give you a
  3 you recognize this. Do you recognize this                     3 little time to look at it. Hopefully --
  4 publication?                                                  4            Andrew, would you be able to blow
  5     A   Yes, I do.                                            5 this up?
  6     Q   And are you listed as the lead author on              6            All right. Great. So if you could
  7 this publication?                                             7 look -- are you able to see it, Doctor? Should we
  8     A   Yes, I am.                                            8 blow it up more?
  9     Q   What kind of publication is the                       9     A    No. I think that's probably okay.
 10 New Atlantis?                                                10     Q    Let me know. So if you look at the second
 11     A   I'm not following your question. It's the            11 full paragraph, the last couple of sentences, so it
 12 New Atlantis.                                                12 says, Most children with gender identity problems
 13     Q   Is it a journal?                                     13 eventually come to accept the gender associated with
 14     A   Yes.                                                 14 their sex and stop identifying as the opposite sex.
 15     Q   And what sort of topics is within the                15            And then you continue. There is some
 16 purview of this journal?                                     16 evidence, however, that gender dysphoria and
 17     A   Wide variety of issues are discussed                 17 cross-gender identification become more persistent
 18 within that journal.                                         18 if they last into adolescence.
 19     Q   Is it a scientific journal?                          19            Do you agree with that statement?
 20     A   Yes. It includes my analysis. Our paper              20     A    With the evidence that's used to support
 21 I would consider a scientific study. I think it              21 the statement at the time I wrote it, yes. There
                                                      Page 127                                                            Page 129
  1 does include publications that would be considered            1 are many caveats to that statement that that would
  2 other scientific disciplines other than my field as           2 require an understanding of the basis for that
  3 an endocrinologist.                                           3 persistence. And namely that what an individual
  4    Q    Would you consider it to be a medical                 4 experiences as they are persisting, whether they're
  5 journal?                                                      5 socially affirmed, whether they were given puberty
  6    A    I would say it's much more broad than a               6 blockers or whether they were given cross-sex
  7 medical journal.                                              7 hormones is going to markedly influence the outcomes
  8    Q    And is this a peer-reviewed journal?                  8 that are observed.
  9    A    Back to our discussion earlier in how we              9    Q    But in terms of when we're talking about
 10 define peer reviewed. I was not given the                    10 whether gender dysphoria persists, should the
 11 information on how it was reviewed. I know it was            11 conversation be divided between prepubertal children
 12 extensively editorially reviewed. I know that                12 with gender dysphoria and adolescents who have
 13 because I was required to make a number of different 13 gender dysphoria?
 14 revisions throughout the writing of this paper               14    A    I think both are important questions to
 15 before it was actually published.                            15 ask. And as a physician-scientist, I would ask the
 16    Q    And an editorial review is the same as               16 question or generate hypotheses about whether the
 17 peer reviewed, correct?                                      17 etiology is the same in both conditions. I would
 18    A    Incorrect. I already discussed the review            18 also ask questions about what interventions are
 19 process by which varying means are used to review            19 necessary at those different stages. Quite clearly
 20 papers, submissions, sometimes at the editorial              20 those that are prepubertal, there would not even be
 21 level, some being sent out to other reviewers.               21 a consideration of GnRH agonist or cross-sex at that

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  1 stage of life. So there are differences in many                   1 the changing demographics. It's very clear that
  2 respects that are -- can and should be the topic of               2 there has been a very significant rise in the number
  3 a scientific inquiry.                                             3 of individuals that are coming to centers that are
  4     Q   Would it be fair to say that these should                 4 offering affirmative care. And there are arguments
  5 be considered two distinct populations, prepubertal               5 that are made that these individuals always existed,
  6 children and adolescents who have gender dysphoria?               6 and now they have a place to go and that's why
  7     A   I would say one can put forward hypotheses                7 they're being seen.
  8 that would put them into different categories. I                  8           It doesn't explain the sex reversal
  9 think there are many conflicting hypotheses that                  9 of predominant males versus predominant females. I
 10 have been proposed. And to more broadly state that               10 know there are some hypotheses that have made that
 11 in any individual, whether they present                          11 attempt to provide an explanation for that. I would
 12 prepubertally or postpubertally, the best available              12 state that they are merely hypotheses, and that
 13 scientific evidence supports is a statement that                 13 these hypotheses don't necessarily carry equal
 14 it's likely multifactorial with different                        14 weight as one considers them.
 15 contributing factors in any one individual. And                  15           But I think anyone involved in this
 16 that there are remaining questions about the precise             16 conversation, really it's not disputed that the
 17 etiology, so I would be careful about making                     17 number of individuals that are coming forward
 18 generalized statements. I can only draw to the                   18 seeking the affirmative approach to care has
 19 evidence that is currently available, and certainly              19 increased quite substantially over the last decade.
 20 there are many remaining questions.                              20     Q   A couple questions about that. Would the
 21     Q   So Andrew, just one more stop in this                    21 expectation be that the rates among individuals who
                                                          Page 131                                                        Page 133
  1 article. If we can go to page four. It's at the                   1 are assigned female at birth and individuals who are
  2 very top. Maybe a little bit down. There we go.                   2 assigned male at birth, that gender dysphoria would
  3           I'm going to read the first sentence.                   3 occur at the same rate roughly, or is that just
  4 It's the top of the page. If you want to read what                4 unknown?
  5 came before or after, just let us know. We can                    5     A   Well, first off, again, I want to
  6 definitely scroll the document.                                   6 understand your question because you used the term
  7           So when you start off and say the                       7 assigned at birth. Are you talking about objective
  8 reasons for these rising rates are unclear, it may                8 reality of sexual identity that -- or just using the
  9 be the increased public awareness of gender                       9 terminology that many people often use?
 10 dysphoria has made parents more willing to seek                  10     Q   We can agree on the term birth sex, does
 11 medical help for their children. We should remember              11 that work for you?
 12 that it is parents or guardians, not children                    12     A   For the purposes of our conversation,
 13 themselves who make decisions about medical care.                13 sure.
 14           Did I read that correctly?                             14     Q   Okay. So would you consider in terms of
 15     A   You did read the statement correctly.                    15 incidence of gender dysphoria to be equally
 16     Q   So first off, the rising rates you                       16 distributed among those who have male and female
 17 mentioned. Do you recall what you were referring                 17 birth sexes?
 18 to, or if it would be helpful to refer to other                  18     A   I would say there's -- in all of medicine,
 19 parts of the article? Just let us know.                          19 we know that's not necessarily true. That all
 20     A   I think it relates generally to what I                   20 diseases have different incidences and prevalences.
 21 shared in response to your earlier question about                21 Many of them are based on sex. And so I think that

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  1 it would be erroneous to make the conclusion that            1 I could go on for quite a long time trying to expand
  2 there would be a 50/50 split in that presentation.           2 upon what those alternative hypotheses are. It's
  3 And I think the data itself that's emerging right            3 one among many. I think it's -- based on what I've
  4 now is disproportionate for adolescent female                4 seen, it's probably one of the weaker hypotheses.
  5 presentation, which is markedly different than the           5 And there are other hypotheses that I think have
  6 demographic that was observed even a few decades             6 more merit based upon the data that we have in hand.
  7 ago.                                                         7 But I think it would be best to say that it remains
  8    Q     So when you say disproportionate female --          8 an unanswered question.
  9 sorry. I'm trying to understand. Disproportionate            9     Q    And I know you said you can talk for a
 10 to what in terms of a comparator?                           10 long time, but just in terms of why specifically you
 11    A     If you look at the absolute number of              11 feel that this hypothesis of increased public
 12 individuals that are presenting to gender centers           12 awareness is particularly weak. Can you elaborate
 13 seeking affirmative care, the majority of those are         13 on that a little bit?
 14 biological females presenting with a male gender            14     A    Well, I think just by sheer number and the
 15 identity.                                                   15 fact that many of these -- so I think the argument
 16    Q     And so -- but we wouldn't necessarily              16 that I've heard made is that there's a difference
 17 expect the incidence to be equal among those who            17 between males and females as far as at what point
 18 have a male birth sex and female birth sex? I guess         18 would they seek intervention in the climate of
 19 I'm getting hung up on the word disproportionate.           19 whether there's a place to be able to go.
 20 So I don't know if you have anything else you want          20             I think that one of the questions
 21 to elaborate on on that point. I think that's where         21 that has arisen is data that is largely dismissed
                                                     Page 135                                                            Page 137
  1 I'm --                                                       1 based upon the limitations of the research
  2    A     If I understand correctly, perhaps                  2 methodology made about the -- it's referred to as a
  3 pertains to the hypotheses that are raised about             3 social contagion hypothesis put forward by my
  4 there being a biological determinant of                      4 colleague Doctor Littman who used, by the way,
  5 sex-discordant gender identity. If that were true,           5 research methodology that many that are arguing for
  6 as a hypothesis, one would have to be able to                6 the alternative hypothesis use identical
  7 explain this marked shift that if the biological             7 methodologies has not been rigorously studied.
  8 determinants that were predominantly male                    8           And one needs to consider as
  9 identifying as female changing over a period of a            9 hypothesis-generating data to not dismiss the
 10 couple of decades because genetics does not change 10 observation that there are instances of groups of
 11 on that time scale, and so one needs to consider            11 adolescent females coming out within social networks
 12 alternate hypotheses to explain that rise. And I            12 all at the same time in the same class.
 13 know there are more than one.                               13           There are limitations in the research
 14    Q     Do you agree, as you mentioned here, that          14 that does not prove that is the etiology, but it
 15 increased public awareness of gender dysphoria is a         15 certainly raises a hypothesis as to whether that
 16 potential reason why parents are seeking medical            16 might be an influence.
 17 help for their children?                                    17     Q   And actually, Andrew, if we could go back
 18    A     I would say that potential, yes. As I              18 to Doctor Hruz's report and maybe spend a little bit
 19 said earlier, all hypotheses do not carry equal             19 more time on this conversation about Doctor
 20 weight. And with one looking at the actual                  20 Littman's research. If you go to paragraph 128 of
 21 demographic itself, that, for example, the -- well,         21 Doctor Hruz's report, Andrew. Thank you.

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  1           So I believe, Doctor, this is the                    1 of critiques of the -- of what you call the
  2 research that you were just referring to as                    2 affirming literature. And among those you list,
  3 discussed in paragraph 128 of the work by Doctor               3 it's the first bullet, actually, significant
  4 Littman, is that correct?                                      4 recruitment biases including internet-based
  5     A   I'm at 128.                                            5 convenience sampling. Is that the type of
  6     Q   Take your time.                                        6 recruitment that Doctor Littman did in her 2018
  7     A   I'm just trying to --                                  7 paper?
  8     Q   Paragraph 128, yes.                                    8     A    Yes. I would agree that study has high
  9     A   I do know I discussed that data, but I'm               9 potential for recruitment bias.
 10 just trying to find it in that paragraph. The                 10     Q    What do you mean by that?
 11 reason I'm having trouble, I'm looking at my                  11     A    Meaning that the source of data, when
 12 footnotes. I don't see that reference.                        12 you're looking at respondents to a survey, are going
 13     Q   I believe her work is referenced in text,             13 to be influenced by underlying goals, whether you're
 14 if you see the last sentence of paragraph 128.                14 going to be able to identify patients that are
 15     A   I'm not at that point. So thank you.                  15 representative of the entire population. It's not
 16     Q   Take your time, please.                               16 to dismiss that data outright. But one needs to be
 17     A   I'm sorry. Oh, okay. Now I see it.                    17 very careful that one does not make causal
 18     Q   Quite all right. We've been doing a lot               18 conclusions based upon a study that at best can be
 19 of flipping back and forth. So thank you for                  19 hypothesis-generating.
 20 bearing with me. So this particular work by Doctor            20            So these types of studies with these
 21 Littman, so is it fair to say she published an                21 recruitment biases can be incredibly helpful in
                                                       Page 139                                                        Page 141
  1 article in 2018 and then there was a correction in             1 identifying a potential explanation that would
  2 2019, does that sound right?                                   2 warrant the more rigorous, less-biased studies using
  3     A   Yes. I will state that the corrections                 3 different methodologies.
  4 that were made did not in any way change the                   4            So I would say that that certainly
  5 conclusions of the study. It moderated some of the             5 does apply to the Littman study by the fact that
  6 statements that were made, but yes, that is correct.           6 these patients were not necessarily representative
  7     Q   So -- but in terms of the correction, it               7 of the entire cohort of individuals that are
  8 did find that the goals, methodology and conclusions           8 experiencing sex-discordant gender identity.
  9 weren't adequately framed in the original published            9     Q    In that study, if you recall, was it
 10 version, is that correct?                                     10 actually the parents who filled out -- who completed
 11     A   My recollection of the study is that                  11 the survey responses that were made in response to
 12 Doctor Littman, in publishing the paper,                      12 that study?
 13 acknowledged that this was not a definitive study.            13     A    That is my recollection, yes.
 14 And that there were definitely a need for additional          14     Q    So we're going back to your report and
 15 research to be done. It's an example of -- the                15 because paragraph 131 is actually quite long, so
 16 statements did not change really the conclusions              16 we'll go off page number -- we'll go off page
 17 that she had reached or the importance of this data           17 numbers -- if we can go to pages 83 to 84. And
 18 in relation to those limitations and weaknesses.              18 it's -- I am going to mispronounce this, the Wiepjes
 19     Q   Andrew, if we can go to 130, paragraph                19 study. For the court reporter, that is the W last
 20 130, page 76.                                                 20 name on the page. This study regarding regrets --
 21           So, Doctor, you had listed a series                 21 are you there yet, Doctor? I want to make sure --

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  1     A    Yes.                                                   1 at an abnormally early age. The normal ages for
  2     Q    You discussed, because gonadectomy                     2 puberty to initiate in females is eight years. Some
  3 requires lifelong care, that patients' failure to               3 as early as seven years to as late as 13 years. In
  4 return to the physicians who provided the                       4 males, nine years to about 14 years.
  5 gender-affirming intervention raises serious                    5            When puberty occurs prior to that
  6 questions about their outcome, and that it's                    6 point in time, it is more than two standard
  7 reasonable to hypothesize that some may experience              7 deviations lower than the mean. Individuals that
  8 regret or completed suicide. Did I characterize                 8 experience that early pubertal development have
  9 that argument correctly?                                        9 issues related to linear growth. They also have
 10     A    That is correct.                                      10 difficulties in most often females in navigating
 11     Q    So you know this is a hypothesis. And I               11 menstruation in schools at ages where their peers
 12 was wondering if you can talk through how you                  12 are not undergoing that and other issues as well.
 13 arrived at that hypothesis?                                    13            It is a condition that
 14     A    Yes. Generally people that are satisfied              14 endocrinologists have long been involved in caring
 15 with their intervention stay with their providers.             15 for and recognizing that this is happening at an
 16 The fact that they were lost to follow-up in a                 16 abnormally early age.
 17 condition where follow-up was going to be required, 17                       The primary intervention that is done
 18 the alternative hypothesis that could be generated             18 for this individual is to suppress that pubertal
 19 such that they moved to a different location, you              19 development with the use of GnRH agonist until that
 20 know, are in the numbers that we see here. If it               20 child reaches an age of where normal pubertal
 21 was a few patients, I could accept there could be a            21 development would occur.
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  1 variety of reasons. So it again is a hypothesis.                1    Q    And is precocious puberty a condition that
  2            But generally speaking, those that                   2 generally requires treatment?
  3 are happy with their care, unless there are other               3    A    Not necessarily. Depends on the age. The
  4 circumstances, they'll stay with their providers.               4 younger the presentation, the greater the potential
  5 The fact they were lost to follow-up when they are              5 that they're going to progress, for example, females
  6 going to require ongoing medical intervention leads             6 to having a menarche or the onset of the menses
  7 to the generation of that hypothesis.                           7 compromising final height will influence a decision
  8     Q    I will just say just in terms of timing,               8 about whether one can treat.
  9 we can probably take an hour lunch break around --              9           Milder forms of precocious puberty
 10 I'd say 11:30 your time, Doctor, and come back at              10 can be monitored clinically, so not all individuals
 11 12:30 your time, 1:30 Eastern, if that works for               11 are given GnRH agonist.
 12 everybody. And then we'll keep going.                          12    Q    I think we discussed this before, but to
 13     A    My preference is to keep moving forward.              13 confirm, you've both treated and diagnosed patients
 14 But I'm sure we can do that.                                   14 with precocious puberty in your practice?
 15     Q    So we're going to continue along in your              15    A    That is correct.
 16 report and go back to paragraph 36. And I know                 16    Q    So if we could go to paragraph 43 on
 17 we've talked about -- I'll let you get there first.            17 page 22, yeah. So in that paragraph, you state,
 18 I'll just tee up the question. We talked a little              18 However, there remains some questions concerning the
 19 bit about precocious puberty, but can you just talk            19 effectiveness of treatment of GnRH analogues. And
 20 about or explain what precocious puberty is?                   20 that's the same, Doctor, as GnRH agonist, correct,
 21     A    Sure. Precocious is the onset of puberty              21 those are the same?

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  1     A   Yes.                                                   1             We're trying to allow that individual
  2     Q   Did I read that correctly?                             2 to return to that state that would normally be
  3     A   Yes.                                                   3 present in that point in life. And the risk/benefit
  4     Q   And here you're talking specifically about             4 assessment, as in all areas of medical practice,
  5 the effectiveness of treatment in the context of               5 particularly in endocrinology, involves the
  6 precocious puberty?                                            6 consideration of what is the relative risk at the
  7     A   That is correct.                                       7 intervention, what is the outcome of the
  8     Q   Then continuing on in paragraph 43 and                 8 intervention, what is the benefit that is achieved
  9 really the top of page 23, it states --                        9 from that intervention.
 10           Andrew, if you can go to page 23.                   10             And again, weighing those relative
 11 There you go. Thank you.                                      11 risks versus benefits in a way that allows one to
 12           Regarding the negative psychological                12 make a prudent decision about whether to intervene
 13 and social outcomes associated with precocious                13 or not.
 14 puberty, the authors found that the available data            14    Q      Have you ever recommended against
 15 were unconvincing and that additional studies were            15 treatment for precocious puberty because there's a
 16 needed. Did I read that correctly, Doctor?                    16 need for more data on the negative social outcomes
 17     A   That is correct.                                      17 of precocious puberty?
 18     Q   And so do you know, since this 2009                   18    A      I've already stated that I don't treat
 19 consensus statement that was I believe mentioned              19 everybody that presents with precocious puberty with
 20 earlier in the paragraph, whether there has been              20 a GnRH agonist, and much of that has to do with how
 21 more study regarding the negative psychological               21 much that's going to influence that patient.
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  1 outcomes regarding precocious puberty?                         1              And yes, if there was zero risks, I
  2     A   I don't think the field has shifted much               2 wouldn't make the recommendation to not treat an
  3 from that initial statement. I would say that that             3 individual that was very mildly delayed, not
  4 supports what I shared earlier, that not every                 4 expected to have significant impact on final stature
  5 individual that experiences precocious puberty is              5 in weighing that. So yes, I do consider the
  6 treated with a GnRH agonist. And it is influenced              6 relative risks. The basis for which I don't offer
  7 by the consideration of the timing of development,             7 that to every single patient that comes to my office
  8 the relative risk versus relative benefit, and a               8 with this complaint.
  9 major determinant of that is going to be effects on            9     Q      Actually, I think that is a good place to
 10 stature. And so that is where the field stands at             10 stop in terms of our current line of questioning.
 11 this point in time.                                           11 And would we be okay to break for an hour and come
 12     Q   So when you are weighing the risk versus              12 back at 24 past the next hour?
 13 the benefits, what role does the impact on                    13     A      It's fine with me. Whatever you need.
 14 stature -- how does that factor into your                     14           MS. WILLIAMS: All right. Doctor, thank
 15 assessment?                                                   15     you and counsel and Laurie. So see you in an
 16     A   So what we are trying to do is correct                16     hour. We can go off.
 17 something that happens in an abnormal way at a                17                  (A lunch recess was held.)
 18 timing in life where the normal signaling from the            18           MS. WILLIAMS: We can go back on.
 19 brain to the gonad is suppressed. And again, in the           19 BY MS. WILLIAMS:
 20 areas of medicine, that is the concept of                     20     Q      So, Doctor, we're going to continue
 21 restoration to help.                                          21 looking at your report. Hope you had a good lunch.

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  1             And, Andrew, can you pull up Doctor                    1     A    You used the word causation and always
  2 Hruz's report, paragraph 71, please?                               2 careful not to -- and I'm not even stating that in
  3             So, Doctor, in paragraph 70, that's                    3 that paragraph. I did not say that. And so I think
  4 page 40, because the paragraph spans those pages,                  4 that there is a reasonable hypothesis and reason for
  5 toward the end of that first partial paragraph, it                 5 concern. The rigorous scientific study that would
  6 says "Given that nearly all gender-dysphoric                       6 need to be done to establish a causal relationship
  7 adolescents to begin puberty blockers, or cross-sex                7 has not been done.
  8 hormones, it seems more plausible that the                         8     Q    Are you personally aware of any instances
  9 interference with normal pubertal development will                 9 where a person seeking gender-affirming care has
 10 influence the gender identity of the child by                     10 received puberty-delaying medication before
 11 reducing the prospects for developing a gender                    11 receiving a diagnosis of gender dysphoria?
 12 identity corresponding to his or her biological sex.              12     A    Are you asking personally in my clinic, or
 13             Did I read that correctly, Doctor?                    13 anecdotally with colleagues that have been engaged
 14     A    Yes, you did.                                            14 in the care?
 15     Q    So question about the support for the                    15     Q    We can do both. So personally, we can do
 16 proposition that receiving gender-affirming care                  16 personally first.
 17 influences a person's gender identity. Can you                    17     A    Well, personally, I have not. I actually
 18 point to any specific study or research that speaks               18 involved in some of these court cases, I think there
 19 to that?                                                          19 was one in particular I recall. I can't remember
 20     A    The observation is that nearly all of the                20 which case it was, where indeed there was a child
 21 individuals will proceed on to later stages of the                21 that was treated for precocious puberty. So I think
                                                           Page 151                                                             Page 153
  1 gender-affirming model, meaning cross-sex hormones,                1 it does occur. I don't think it's the usual course.
  2 in contrast to the published literature that we                    2    Q    Sorry, just to clarify. You said that the
  3 discussed earlier. Actually we didn't discuss in                   3 child in this other case, and I understand you don't
  4 detail the actual studies, but there are about a                   4 remember which case, received treatment for
  5 dozen studies that have shown this realignment of                  5 precocious puberty before receiving a diagnosis of
  6 gender identity with sex, if not intervening with                  6 gender dysphoria? I just want to clarify.
  7 this affirmative approach.                                         7    A    Actually, I'm thinking through in this
  8            So the hypothesis is generated by                       8 case here. Again, I'm not going to speculate
  9 looking at two sets of data, the natural history for               9 because I don't have the records in front of me. I
 10 affected individuals without affirmation and the                  10 have some vague recollection of a case. Whether
 11 trajectory that one sees with affirmation. So those               11 that was somebody that had precocious puberty that
 12 are the two data sets. Again, the studies showing                 12 developed an expression of gender dysphoria or
 13 that the vast majority do progress on to cross-sex                13 whether that was related to hormone interventions,
 14 hormones is documented. And the studies are                       14 without going back in my memory, probably not going
 15 referenced I believe elsewhere as far as the natural              15 to comment.
 16 outcome for those that are not subjected to the                   16    Q    Understood. And then anecdotally. You
 17 affirmation approach.                                             17 personally and then anecdotally. Could you share
 18    Q    In terms of causation, are there any                      18 what your understanding is anecdotally?
 19 studies that demonstrate that receipt of                          19    A    I have been told that some individuals
 20 gender-affirming care impacts a person's sense of                 20 have really been more distraught with the onset of
 21 their gender identity?                                            21 menses, and that is the major concern that they had

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  1 that led them to seek the affirmative approach for                 1 diagnosed with gender dysphoria?
  2 gender dysphoria. Again, it's not a scientific                     2     Q   No. I'm just asking, I guess, is it
  3 study. It's an anecdotal report, but I know there                  3 common practice for somebody to receive a diagnosis
  4 have been other reports as well when there has been                4 of gender dysphoria before they are given puberty
  5 an attempt to understand the predisposing factors                  5 blockers for the purposes of gender affirmation?
  6 that led to sex-discordant gender identity and                     6         MR. MILLS: Objection.
  7 discomfort with menarche has been raised on more                   7     A   So I think you what you're asking, I want
  8 than one occasion.                                                 8 to make sure that I am addressing the question that
  9     Q    So -- just so I understand, are you saying                9 you have, is it -- are people generally given a
 10 that you've anecdotally heard of instances where                  10 diagnosis before they are started on that, is
 11 someone begins to menstruate and then they receive 11 that --
 12 puberty-delaying medication without a diagnosis of                12 BY MS. WILLIAMS:
 13 gender dysphoria?                                                 13     Q   Yes. Go ahead and continue. Sorry.
 14     A    That wasn't what I was discussing.                       14     A   No. I think that is my understanding of
 15     Q    Sorry.                                                   15 the way it's most often presenting.
 16     A    That had premature menarche and attributed               16     Q   And just the same question for cross-sex
 17 that, the discomfort with that development, to                    17 hormones. Is it your understanding that generally
 18 gender dysphoria.                                                 18 there is a diagnosis of gender dysphoria before
 19     Q    So I just want to make sure. The question                19 cross-sex hormones are prescribed for the purposes
 20 I'm asking is just if you're aware of any instances               20 of gender affirmation?
 21 where somebody -- so has received puberty blockers 21                        MR. MILLS: Objection.
                                                           Page 155                                                          Page 157
  1 without the gender dysphoria diagnosis, and in terms               1     A    So if -- so the -- again, there -- what
  2 of anecdotally I wasn't quite sure if that was a yes               2 normally happens is, as far as what the diagnosis
  3 or no or more explanation.                                         3 and how it is arrived at, my understanding is that
  4     A   Well, yes, there are lots of examples of                   4 there usually is a requirement to have that
  5 individuals that have precocious puberty that are                  5 diagnosis made. There is quite a bit of variability
  6 given GnRH agonist. Are you talking -- I'm not                     6 in how that diagnosis is made, the criteria, and how
  7 following.                                                         7 it's applied, whether one has actually investigated
  8     Q   I understand. I'm sorry. My question is                    8 antecedent potentially contributing factors to that
  9 for people who would only receive puberty blockers                 9 presentation.
 10 as treatment for gender dysphoria, no other                       10            In fact, I am very much aware there's
 11 condition, are you aware of anyone who has been able              11 often a desire to use the checklist of the DSM in
 12 to receive a treatment with puberty blockers without              12 justifying the need to proceed on to the medical
 13 first getting a diagnosis of gender dysphoria?                    13 interventions.
 14     A   I guess the context of the question --                    14 BY MS. WILLIAMS:
 15 there are other reasons to give GnRH agonist                      15     Q    Got it. So is a person realigning their
 16 independent of precocious puberty. One of the other               16 gender identity -- I'll start over. If a person has
 17 indications would be patients undergoing                          17 gender dysphoria, is the preferred outcome in your
 18 chemotherapy where there is risk to damage to the                 18 opinion for that person to realign with their birth
 19 gonads, and they are often given GnRH agonists.                   19 sex?
 20 Would an individual hypothetically be given GnRH                  20     A    So the question is whether there is a
 21 agonist for a different reason and then later be                  21 preferred outcome?

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  1     Q      Yes.                                                     1 social affirmation that that outcome of realignment
  2     A      The response to that question is there are               2 of gender identity with the sexes is modified. And
  3 many layers to how one would determine optimal                      3 so one needs to answer that question with
  4 outcomes, based upon relative risk, relative                        4 information about what the likely outcomes are. And
  5 benefit. One way to look at the problem -- this is                  5 again, it's not a value judgment per se. It's
  6 the question I asked my endocrine colleagues in your                6 basically looking at, as we discussed earlier,
  7 earlier question, as we were discussing the merits                  7 consideration of relative risk versus benefit.
  8 of the affirmation approach.                                        8     Q   And picking up on that point. So if
  9             If you have a condition that has a                      9 somebody were to have gender dysphoria that were
 10 known outcome of spontaneous realignment of gender                 10 untreated or not treated successfully, let's just
 11 identities with sex, 85 percent of the time for                    11 stay with not treated successfully, do you see that
 12 those individuals for which that occurs, whether it                12 as having any risk?
 13 be the physician or the investigator has a desired                 13         MR. MILLS: Objection.
 14 goal whatsoever, objectively speaking, having that                 14     A   So the whole purpose of medicine is to
 15 outcome would obviate the need for that individual                 15 restore health and to alleviate suffering. So by
 16 to be exposed to the hormonal interventions that                   16 definition, if you fail to restore health or you
 17 carry risk. And would not -- that go on to later                   17 failed to alleviate suffering, that would not be in
 18 stage of intervention would not need lifelong                      18 alignment with the goals of medicine.
 19 medical follow-up, all the issues related to                       19 BY MS. WILLIAMS:
 20 fertility, bone density and all of the other                       20     Q   One concept that you discuss in your
 21 factors.                                                           21 report is patient self-report. And I was wondering
                                                            Page 159                                                         Page 161
  1               So from an objective clinical                         1 if you can talk about what you mean when you say
  2 standpoint, an outcome that carries risk versus one                 2 self-report.
  3 that does not would objectively be in favor of at                   3     A   You might want to be more specific.
  4 least intervention. In fact, in medicine we often                   4 There's many places where we rely upon history
  5 talk about this in terms of noninferiority, so that                 5 taking without objective, verifiable evidence. So
  6 if we have an intervention that has a particular                    6 if you can draw me to the specifics of what you're
  7 outcome, any new way of addressing that condition                   7 referring to, I'd be happy to address that.
  8 should be at least as good, if not better, in that                  8     Q   Sure. In terms of -- first of all, do you
  9 outcome.                                                            9 consider gender dysphoria to be an example of a
 10               So that when -- so that's not stating                10 medical condition that is based on self-report?
 11 my preference or my goal. It's an objective                        11     A   I would say there is no objective
 12 statement based upon an assessment of relative risk                12 biological test or study that can be done apart from
 13 versus benefit. So that's the way to approach that                 13 observation of the patient's stated gender identity
 14 question.                                                          14 and distress associated with that. So in that
 15               As far as -- now, that's assuming                    15 respect, it relies heavily upon an individual's
 16 many factors. So as we talked about, the natural                   16 statement of their experience.
 17 history has shifted as the affirmation approaches,                 17     Q   Would it also involve, to the extent there
 18 has been more widely applied, and that includes                    18 is an outwardly facing manifestation of that
 19 interventions that occur prior to even coming to a                 19 distress, conversations with parents, for example?
 20 physician. Meaning, the social affirmation                         20     A   You touched earlier upon the DSM diagnosis
 21 component of that. There is data that suggests with                21 and that involves impairment. So that is certainly

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  1 a component.                                                    1     Q     Okay. We're going to move -- Andrew,
  2     Q   Is it fair to say that self-report is not               2 we're going to move to paragraph 60 to 63, which
  3 the only factor in gender dysphoria diagnosis?                  3 discusses watchful waiting.
  4     A   I would say the experience of what one                  4             And just to confirm -- I know we
  5 says as far as their gender identity is what the                5 spoke a lot about your published works earlier.
  6 patient tells you. Gender expression does not                   6 Have you written any published articles that
  7 necessarily correlate with gender identity. So I                7 specifically focus on the watchful waiting approach
  8 think you have to be very careful what terms we're              8 as it's described in your report?
  9 using and what conditions we're talking about.                  9     A     I certainly have written on that question
 10 One's perception of their sexual identity, the trend           10 in relation to all of the approaches to treating
 11 we use as gender identity is a self-reported                   11 this condition. Again, I'm an endocrinologist, and
 12 concept.                                                       12 speaking on areas related to hormonal interventions,
 13     Q   But in terms of gender dysphoria, there                13 but certainly that question has been included in
 14 are other inputs that go into that particular                  14 some of my prior publications.
 15 diagnosis?                                                     15     Q     Moving on to paragraph 61, and the top of
 16     A   The dysphoria is a report. The objective               16 the next page, you mention exploratory therapy
 17 what one can look to are effects on psychosocial               17 and how it may be used to "explore potential causes
 18 functioning, which may or may not be related to                18 of dysphoria which may be linked to trauma,
 19 one's gender identity.                                         19 developmental issues, or psychological
 20            Again, I'm an endocrinologist that is               20 comorbidities. First off, what is exploratory
 21 addressing areas of hormonal administration, but the 21 therapy, Doctor?
                                                        Page 163                                                         Page 165
  1 role of the psychological evaluation is more suited             1     A     My understanding of that approach to
  2 to that assessment.                                             2 caring for an individual is to search for potential
  3     Q    Are you aware of any medical conditions                3 contributing etiologies and to address those
  4 that, you know, for which there aren't definitive               4 underlying etiologies.
  5 medical tests but do require some sort of medical               5             It is a standard practice to be
  6 intervention?                                                   6 able to understand as best one can all of the
  7     A    That's a very broad question if related to             7 contributors to the presentation of a particular
  8 that question is consideration of relative risk                 8 illness. There are many times where there are
  9 versus benefit of intervention. So there are many               9 components of that presentation that can be
 10 things that would not require the same degree of               10 addressed, and there are other risk factors that
 11 rigor. When you look at an intervention that could             11 cannot.
 12 potentially render a patient infertile or sterile,             12     Q     And what risk factors can't really be
 13 that would disrupt normal organ functioning, that              13 addressed using exploratory therapy?
 14 would carry the increased risk of a whole host of              14     A     You can't trade in your parents. You're
 15 other morbidities, the bar is much higher in the               15 stuck with the genetics that you have from birth.
 16 evidence that one would need to see to be able to              16 But if you've had a psychological insult, a trauma,
 17 recommend that type of intervention.                           17 you know, another condition that is treatable, that
 18     Q    We're going to move to -- sorry. Got a                18 is certainly amenable to interventions. And this is
 19 little bit of feedback there. Doctor, you can hear             19 agnostic to any desired outcomes.
 20 me okay now?                                                   20             So if you have an individual that
 21     A    I can hear you, yes.                                  21 presents with comorbidities such as clinical anxiety

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  1 or depression or an eating disorder, that may be                  1 support that there are influences of these other
  2 related, and whether it's causal or associative is                2 comorbidities, whether they're determinative on
  3 yet to be determined, but it would be prudent as a                3 their own or in constellation [sic] with other
  4 practitioner to address those underlying                          4 issues related to that patient, can often be quite
  5 comorbidities and alleviate suffering to the extent               5 complex. But there are data that will lead credence
  6 that one can by addressing that.                                  6 to the conclusion that they are a contributing
  7           And that is what this paragraph in my                   7 influence.
  8 declaration is speaking to, that there are                        8     Q   Are those data described in some of the
  9 well-established interventions independent of gender              9 articles in your CV that have been cited?
 10 dysphoria which have much more solid evidence of                 10     A   In a general sense when I talk about what
 11 efficacy in alleviating that component of the                    11 is known about etiology, I have stated on more than
 12 suffering.                                                       12 one occasion this question of unknowns about the
 13     Q   In your review, because you had just                     13 etiology of this condition and in relation to what
 14 mentioned the outcomes of exploratory therapy, could             14 we've already discussed relating to risk and
 15 exploratory therapy ever result in the conclusion                15 benefit. So in that regard, yes, I have covered
 16 that somebody should proceed with gender-affirming               16 that in my publications.
 17 care?                                                            17     Q   So we're moving on.
 18     A   I'm going to respond to what I think your                18           Andrew, we're going to go back to --
 19 question is, that it comes back to a careful                     19 or one more question about exploratory therapy.
 20 assessment of relative risk versus relative benefit              20           Sorry, Doctor. Are there any
 21 of any intervention. In that risk/benefit                        21 articles or literature that support the proposition
                                                          Page 167                                                       Page 169
  1 assessment, one always opts for treatments of the                 1 that exploratory therapy has better long-term
  2 lowest risk and the highest benefit. And many times               2 outcomes for youth with gender dysphoria than
  3 that is very obvious, but in other circumstances it               3 gender-affirming care?
  4 may be more subtle.                                               4     A   The state of the current -- so my
  5              So that based upon the relative risk                 5 understanding in general when I've reviewed the
  6 and the relative -- or purported benefit, there are               6 literature, there's been a movement away from
  7 a number of hypotheticals that one could propose                  7 exploratory investigation, and therefore the papers
  8 where that may be true. However, there is existing                8 that have been done most recently are quite
  9 data that calls into question for -- again for any                9 deficient in addressing that question.
 10 individual, as I said previously, the contributing               10     Q   And do you know what the cause of the
 11 factors are likely multifactorial, differing in both             11 movement away from -- or the reasons for the
 12 nature and degree in that individual, and one needs              12 movement away from exploratory investigation?
 13 to make that prudent decision about the path to                  13     A   I can offer a hypothesis, but I don't have
 14 proceed based upon that currently available                      14 any direct knowledge of those that are directing
 15 evidence.                                                        15 that conversation. It speaks to much of the
 16     Q    And through exploratory therapy, do you                 16 discussions within organizations such as WPATH.
 17 believe it is possible to identify the cause of                  17 There has been written reasons given as to why that
 18 someone's gender dysphoria?                                      18 has not been considered in the depth that is
 19     A    I would be very -- I'm very careful when I              19 necessary to be considered. Specifically, that
 20 use the word cause. I would say that I think you                 20 being perceived as a barrier to having access to the
 21 can see -- and there is evidence that clearly                    21 affirmative interventions with the affirmative

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  1 model.                                                             1 to arrive at an understanding of the temporal
  2             And so there's been in the United                      2 relationship and whether it is associative or as you
  3 States, as opposed to in Europe and other places of                3 say causative.
  4 the world where they are now prioritizing this                     4     Q   Andrew, I think we're going to go now to
  5 exploratory intervention, they have intentionally                  5 paragraph 43.
  6 deprioritized it here in the United States.                        6             We're going to paragraph 43, and,
  7     Q     Just so I understand, so the exploratory                 7 Doctor, that's on page 23 of your report.
  8 therapy as you laid out in your report is being                    8             Thanks, Andrew.
  9 prioritized now in Europe over gender-affirming                    9             So here you mention in the last
 10 care, is that what you're saying?                                 10 sentence of the first partial paragraph that puberty
 11     A     You don't need me to tell you what's                    11 blockers have recently been recognized to carry a
 12 already available that one can find very readily                  12 risk of increased brain pressure that can adversely
 13 about the positions that have taken place in Sweden, 13 affect vision and cause severe headaches. Is that
 14 and the U.K., for example, just last week                         14 true both in the -- let me rephrase that. Is that
 15 specifically stated, you know, that they were going               15 true regardless of whether the intervention is for
 16 to be prioritizing psychological interventions in                 16 gender dysphoria or precocious puberty?
 17 reserving the medical affirmation with puberty                    17     A   Yes.
 18 blockers to experimental trials. That same                        18     Q   Have you seen this complication in your
 19 statement was made by Sweden, as well as in other                 19 practice?
 20 European countries.                                               20     A   I've actually seen it more commonly in the
 21             So it is recognizing that the state                   21 use of growth hormone treatment, which causes the
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  1 of knowledge is based upon weak evidence with many                 1 same -- pseudotumor cerebri is the technical term
  2 questions, and recognizing in that consideration of                2 for that -- in the treatment of precocious puberty.
  3 risk versus benefit are prioritizing psychological                 3 It is acknowledged to be a relatively rare
  4 interventions over hormonal administration.                        4 occurrence.
  5     Q    And psychological interventions could                     5     Q   And how do you treat that particular
  6 include exploratory therapy, but could also include                6 complication?
  7 other psychological interventions?                                 7     A   So the first step is to discontinue the
  8     A    I think, if I understand your question, so                8 agent that is believed to be causing that. So if
  9 when I talk about exploratory therapy, I'm talking                 9 you're being treated, you would stop that
 10 about factors that have gone on in a person's life                10 administration. Usually it can be detected by not
 11 that are environmental or with a psychological --                 11 only the headaches but often by physical exam
 12 for example, the observation that very frequently                 12 looking at blurring of the optic disk margins.
 13 anxiety disorder, major depression, eating disorders              13 Sometimes we'll require intervention to relieve that
 14 predate any outward manifestations of gender                      14 increased pressure and sometimes it'll spontaneously
 15 dysphoria, and to investigate and address those                   15 resolve.
 16 underlying comorbidities as a first line of                       16     Q   You said that's more common with growth
 17 intervention requires one to ask the question.                    17 hormone than what you've seen with precocious
 18            So that if one doesn't ask the                         18 puberty, is that correct?
 19 question, which as far as what has gone on in their               19     A   That has been my experience, yes.
 20 life at the timing of the difficulties that they are              20     Q   In your practice -- I know you've been
 21 experiencing these comorbidities, one is never going              21 practicing for a while, do you have a general

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  1 ballpark of how many of these particular pseudotumor               1 replicate the observations from the de Vries Dutch
  2 cerebri that you've seen in terms of cases?                        2 study in the U.K., they saw very different results,
  3     A   Related to any patient or related to                       3 and that was the paper by Carmichael that was
  4 treatment with GnRH agonist?                                       4 published subsequent to that.
  5     Q   Related to GnRH agonist.                                   5            Maybe I went longer than your
  6     A   I've had a handful with growth hormone. I                  6 question was. I apologize.
  7 don't recall that anyone I've had on GnRH agonist                  7     Q   No. But in terms of -- you mentioned that
  8 for precocious puberty. But I will say that any                    8 you believe that a lot of the individuals who are
  9 rare side effect, the manifestation of that is going               9 being treated for gender dysphoria in the United
 10 to be proportionate to the patients at risk. So                   10 States wouldn't necessarily qualify for the de Vries
 11 precocious puberty is a very rare condition, and the              11 study. And in terms of how gender-affirming care
 12 more people that are exposed to it, the greater the               12 is practiced in the United States, there is
 13 likelihood that one will encounter it. By many                    13 psychological support as part of the
 14 measures of the number of people that are being                   14 gender-affirming care, is there not?
 15 exposed to GnRH agonist for the treatment of gender               15         MR. MILLS: Objection.
 16 dysphoria is becoming predominant and therefore not               16     A   So according to the de Vries study, if you
 17 negligible.                                                       17 had underlying psychiatric morbidities, you would
 18     Q   So skipping around a little bit more on                   18 not have been enrolled in the study. So they looked
 19 your report. Turning to paragraph 131. And this                   19 at a higher functioning group of individuals that
 20 will be on page 79. It's a long paragraph. I just                 20 exclusively excluded those that have those
 21 had a question about the de Vries study. So you                   21 psychiatric comorbidities. That is not being used
                                                           Page 175                                                          Page 177
  1 acknowledge that the 2011 de Vries study did find                  1 in the United States to prevent somebody from
  2 improvement in mood and the risk of behavioral                     2 receiving affirmative medical interventions.
  3 disorders of puberty blockers, correct?                            3 BY MS. WILLIAMS:
  4     A    I don't know where to begin. The study as                 4     Q    So same long paragraph, 131. But we're
  5 it was designed and the outcomes that were reported                5 just going down to page 94. So it is a long
  6 are not for the concerns in question, other than                   6 paragraph. Just wanted to ask you.
  7 their readout of dysphoria itself which was                        7            94, Andrew. Sorry.
  8 fundamentally flawed in that they switched the                     8            So this is the paragraph talking
  9 assessment tool before and after intervention to                   9 about the van der Missen study from 2020. Is it
 10 claim that there was benefit when they changed the                10 fair to say that one of your criticisms in that
 11 sex-based questionnaire before and after treatment.               11 study is that the subjects assessed before and after
 12            But for the outcome measures that are                  12 treatment are different populations because of a
 13 reported in the time frame that they report, I think              13 two-year difference in age?
 14 that they can be accepted as they report them. It's               14     A    I'll have to go back and --
 15 important in this study to recognize that this was a              15     Q    Sure.
 16 very select group of individuals where they screened 16                  A    So the comment in the observation I make
 17 out individuals that had underlying psychiatric                   17 in that study is -- again, this is -- this should
 18 comorbidities.                                                    18 not be at all controversial to anyone that is in the
 19            Most of the patients that are being                    19 area of pediatrics to know that the adolescent years
 20 treated here in the United States would not have                  20 themselves are a traumatic and difficult time for
 21 qualified for that study. When they tried to                      21 most affected children.

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  1           So that to see differences in a                       1 analysis that was made in approving that medication
  2 temporal manner without controlling for the temporal            2 will apply to other conditions.
  3 differences, one cannot conclude what the                       3     Q   But off-label prescription is common,
  4 intervention may have done independent of the normal            4 correct?
  5 development trajectories and differences that one               5     A   Particularly in the pediatric population,
  6 experiences in that period of adolescent                        6 yes. Most often off-label use is giving medications
  7 development. I hope that's clear.                               7 that have been approved for the exact same condition
  8     Q   But would any pre-GnRH agonist, sorry, any              8 in older patients to use in children where it has
  9 prepuberty blocker group would be younger than a                9 not been studied because of the cost involved in
 10 cohort that's received puberty blockers, since                 10 conducting the clinical trials.
 11 puberty blockers are started early in puberty and              11            Anytime a physician uses a drug
 12 then discontinued in later adolescence? Go ahead.              12 off-label, they are assuming the risk that we don't
 13     A   Not necessarily, but yes.                              13 have the data available. And, again, getting back
 14     Q   How do you mean?                                       14 to that risk/benefit assessment, it's going to be
 15     A   So until you have gonadectomy, especially              15 influenced by the condition that is being treated
 16 in males trying to suppress testicular function,               16 and the available data that is available in other
 17 GnRH agonist may be continued even after the                   17 conditions.
 18 introduction of cross-sex hormones.                            18     Q   And you prescribe off-label medications in
 19     Q   So a group that previous or that has not               19 your practice?
 20 received puberty blockers is on average going to be            20     A   Yes.
 21 younger than a group that has received puberty                 21     Q   Andrew, if we could go to 103.
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  1 blockers, correct?                                              1            Doctor, this is just a couple of
  2     A    I'm sorry. I'm not following your                      2 questions about the Tordoff study. Just really in
  3 question.                                                       3 terms of the critique that you cited and just trying
  4     Q    It's okay.                                             4 to get a sense of the nature of the critique in
  5     A    The criticism -- this is a cross-sectional             5 terms of the source. So you cited an article by
  6 study, and that you had two different age groups,               6 Jesse Singal, is that correct? I believe -- sorry.
  7 and the variable of age was not considered in the               7 I'm getting a little backup.
  8 analysis of the results that they observed.                     8            I think it's 276, Andrew, the
  9     Q    I think we can move on from that                       9 footnote. So it's the next page, 104. Sorry.
 10 particular discussion. And just a couple questions             10            So I just was curious as to who
 11 just about off-label medication. Could you share               11 Mr. Singal is and what his background is, if you
 12 with me what your understanding of off-label                   12 happen to know.
 13 medicine is?                                                   13     A   I do not know. I can only objectively
 14     A    The term off-label means the prescribing              14 look at what was written in comparison to the actual
 15 of a medication for an indication that has not been            15 data that was presented. And it was referenced
 16 FDA approved.                                                  16 because for my ability in this report to include the
 17     Q    And when a medication is prescribed --                17 great detail that was present in that study would
 18 I'll start over. When that medication is approved              18 have made this document much longer than it
 19 by the FDA, isn't it true that it can be prescribed            19 currently is. But I was convinced by the assessment
 20 for any indication, or is that incorrect?                      20 of the critique that was presented in that
 21     A    It does not mean that the risk/benefit                21 particular article. It's quite revealing when one

                                                                                                     46 (Pages 178 - 181)
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  1 looks at the actual data itself.                              1 rigorous study looking at the prevalence of that
  2    Q    But Substack is not a scientific journal,             2 claim being made.
  3 correct?                                                      3     Q   You say that in terms of materials. What
  4    A    I never claimed that it was.                          4 kind of materials are you talking about?
  5    Q    Just for the record, just asking.                     5     A   These are not scientific resources that
  6    A    No. But what I think what's important                 6 can be found in advertising in the commentary that
  7 about the use of this as a footnote, it would be              7 is put forward. I don't dismiss it because I've had
  8 very instructive to look through the actual                   8 parents tell me that is exactly what happened to
  9 methodologic issues resulting in the conclusions              9 them.
 10 that were made in that article.                              10            So again, for the level of evidence
 11             I am always, as a                                11 that it has, the important point about that is that
 12 physician-scientist, very skeptical about any                12 the converse of that is not that their child will
 13 claims that are made about anything and want to see 13 commit suicide, but that the intervention itself
 14 the actual data itself. If you look at the argument          14 will alleviate that, that outcome of suicide, that
 15 that was made in that nonscientific article, and             15 is data that can be rigorously assessed and
 16 then you read the paper itself, and compare the data         16 published scientific data, and I've referenced that
 17 that was presented, I think it's a very compelling           17 in my report, in many of my publications about the
 18 case that there are major problems with the way that 18 data that actually calls into question whether that
 19 study -- the conclusions of that study were                  19 actually achieves that outcome.
 20 reported.                                                    20            In fact, distinguishing suicidality,
 21    Q    Andrew, I think --                                   21 one having suicidal ideation versus actual suicide
                                                      Page 183                                                          Page 185
  1             Doctor, I just wanted to ask you in               1 attempt or completed suicide, that is objective,
  2 paragraph 114 of your paper.                                  2 verifiable data. So that if the converse is stated
  3             I think it will probably be 64,                   3 to a family inquiring about whether to proceed with
  4 Andrew.                                                       4 the affirmation approach, whether or not they are
  5             You had mentioned that parents are                5 told that it will result in suicide, they are not
  6 often told that the failure to allow a                        6 being told the evidence that suggests that the
  7 gender-dysphoric child to medically transition will           7 suicide data is questionable, if not objectively not
  8 result in suicide. And I'm just curious what the              8 proving what that -- that outcome of a completed
  9 basis is for that assertion.                                  9 suicide.
 10     A   There have been many sources, including              10     Q   Have you ever witnessed firsthand a
 11 patient parents that have directly told me that's            11 healthcare provider telling a parent that a failure
 12 what they've heard.                                          12 to allow to a child with gender dysphoria to
 13     Q   How common is that patient or parent                 13 medically transition would result in a suicide?
 14 report to you that this was told to them?                    14     A   The reason I'm hesitating is I'm trying to
 15     A   I don't think I've conducted an intensive            15 review those conversations I had previously. And
 16 rigorous study to look at the overall incidence.             16 whether there was a physician present at the time
 17 These are stories that I've often been told. And I           17 the parent was telling me that. I wouldn't be able
 18 also have seen evidence of that in various                   18 to say with certainty.
 19 promotional materials that individuals that are              19     Q   Understood. Doctor, could you explain
 20 delivering this care have. I don't have those on             20 what you consider to be informed consent?
 21 me, but they do exist. And -- but I've not done a            21     A   This is a very important question. Many

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  1 argue that informed consent is limited by the                 1            There's active conversations about
  2 information that is presented to a patient, and the           2 whether adolescents and children are as equipped as
  3 ability that the patient has to be able to assess             3 adults. And it is recognized that there are many
  4 that information.                                             4 unsettled questions in that regard. And one
  5            But informed consent is exactly as I               5 necessitates doing the best that one can, given
  6 go through the decision of assessing relative risk            6 those limitations. But I think this is -- you would
  7 versus expected benefit, to explain that same                 7 not have to look very far in the ethics literature
  8 concept to the patient, to be able to explain to              8 to find even recent papers that address these
  9 them not only the risks of a proposed intervention,           9 questions.
 10 and the expected outcomes, but also discussing               10     Q   And now we're going to go back to your CV,
 11 alternate approaches, alternate risks and benefits           11 Doctor.
 12 with those other approaches, to be able to allow one 12                    And, Andrew, could we go back to the
 13 to make a prudential judgment in a particular case           13 doctor's CV, please. I think it's around page 120.
 14 about whether to proceed with that intervention or           14 There we go. Keep going. There.
 15 not.                                                         15            So you mentioned you testified
 16     Q   And when you're talking with a patient or            16 before, correct, Doctor? I think we said that at
 17 working with a patient, how do you determine that            17 the outset that you've testified before?
 18 informed consent is present?                                 18     A   Yes.
 19     A   The best way to assess that is to, one,              19     Q   And then -- so in your report, you mention
 20 be very complete, to be very objective in the                20 that you've been designated as an expert in cases
 21 information that is presented, and to ask for                21 related to the litigation of issues of sex and
                                                      Page 187                                                          Page 189
  1 feedback from the patient after that conversation             1 gender. Are all of those cases through -- when you
  2 has been made, to address any questions that may              2 compiled this CV, are those included here or listed
  3 arise in the course of that conversation.                     3 in your report?
  4            These types of discussions for                     4     A     I have to remember. I have several
  5 informed consent happen on a routine basis. The               5 different versions of this. It's the last page of
  6 discussions are much more intensive when there's a            6 the CV that includes the expert witness testimony.
  7 much more invasive intervention that is being                 7 And at the time I put this CV together, I believe it
  8 proposed than, for example, getting informed consent 8 was -- it's complete as I could recall.
  9 for an intervention that has minimal risk and                 9     Q     Andrew, do you want to go down to that
 10 well-established benefit.                                    10 last -- there we go.
 11     Q   Are there any specific criteria that you             11             So you have testified in cases that
 12 use to determine when informed consent is present?           12 deal with the issue of providing gender-affirming
 13     A   Most of my colleagues -- and this is                 13 care, correct?
 14 actually since I do teach a course on ethics, this           14     A     Correct.
 15 is an active area of conversation about questioning          15     Q     And you've also testified in issues that
 16 whether that full consent is possible in                     16 deal with the ability of transgender individuals to
 17 particularly in various situations. There's a whole          17 access the restroom that corresponds with their
 18 active discussion in the ethics community about              18 gender identity, is that correct?
 19 people in particular that have psychiatric                   19     A     Those are the first of the studies that
 20 comorbidities and whether they are able to give              20 are listed in that CV, yes.
 21 consent.                                                     21     Q     And specific to the restroom issue, does

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  1 that specifically deal with the medical treatment of          1 was an adult. The information that I presented in
  2 gender dysphoria?                                             2 that case was the same type of information that I
  3     A   So let me be clear about my involvement as            3 presented in the other cases related to risk and
  4 an expert witness. And I've made this very clear in           4 benefit.
  5 every single case I've participated in. That I am             5    Q    Andrew, could we go -- I'm sorry. Again,
  6 presenting the necessary information as a                     6 we're hopping around. Could we go back up to
  7 physician-scientist, pediatric endocrinologist                7 paragraph 155 and page 123. Thank you.
  8 relevant to the questions at hand in the case. I              8            So in this paragraph -- are you
  9 have never put forward that I am a legislator, nor            9 there, Doctor? I'll wait for you.
 10 that I am a -- beyond in the legal room.                     10    A    Last paragraph, yes.
 11           So my involvement as an expert                     11    Q    You state that the vast majority of
 12 witness is related to the matters that I know as a           12 children who report gender dysphoria will, if not
 13 physician-scientist in studying this question of             13 affirm in their sex-discordant gender identify, grow
 14 sex-discordant gender identity within that                   14 out of the problem, a natural coping developmental
 15 background that I have.                                      15 process, and willingly accept their biological sex.
 16     Q   In those cases that deal with the restroom           16 So do you characterize gender-affirming care as
 17 issue, what types of topics do you offer opinions on         17 unnatural?
 18 in those cases?                                              18    A    I think you're -- so the question is --
 19     A   In the earlier cases, I was asked to opine           19 it's a medical intervention. Right. So let me
 20 on a much wider set of issues. Mainly because at             20 understand your question. So to take an individual
 21 the time I began presenting what I have learned over 21 that has normally formed and functioning sexual
                                                      Page 191                                                        Page 193
  1 the time that I've been involved in this discussion,          1 organs and then render them nonfunctioning, is that
  2 there were fewer individuals that had been                    2 natural? No.
  3 identified that were qualified to be able to speak            3    Q    I was trying to understand what you meant
  4 on these issues.                                              4 by using the word unnatural or natural.
  5           As I have moved forward, there have                 5    A    Okay. So that's in relation to
  6 been others that have been able to take over some             6 understanding adolescent development, recognition
  7 of the opinions related to other aspects of the               7 that identity issues are a very central component to
  8 question at hand, although I would say that                   8 the adolescent developmental process completely
  9 everything that I've been asked is in relation to             9 independent of gender dysphoria. It is a process
 10 what we've already discussed today: relative risk            10 that as a pediatrician that we are -- we understand.
 11 versus relative benefit in that assessment. That             11 We navigate in our treatment of the whole spectrum
 12 I've been able to restrict more specifically on the          12 of endocrine-related diseases.
 13 (unintelligible) interventions themselves, the               13            So we understand. So natural -- the
 14 relative risk of exposing an individual to those             14 word natural is in relation to the developmental,
 15 hormonal treatments and questions that are relevant          15 the psychosocial developmental process known as
 16 to an intervention that is being given by a                  16 adolescence that occurs temporally associated with
 17 physician like myself in assessing that risk and             17 the biological process of pubertal development,
 18 benefit which involves questions about them.                 18 which is the maturation of the gonadal axis to the
 19     Q   Have you ever offered testimony in a case            19 point of reproductive competency.
 20 that relates to transgender adults?                          20    Q    And then when you say willingly accept
 21     A   I did. I think the one in South Dakota               21 their biological sex, what did you mean by that

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  1 phrase?                                                       1 filed?
  2     A    Willingly, meaning not coercively or in              2     A    Again, it was so long ago that my specific
  3 any way encouraged. It's a natural developmental              3 recollection of what transpired at that time is not
  4 outcome, based upon the literature that I referenced          4 as clear as I would like it to be. I certainly was
  5 earlier in our conversation.                                  5 aware of the arguments that were being made. I made
  6     Q    Do you think that is the best outcome for            6 it clear that much of the wording in that document
  7 the child?                                                    7 was not words that I would use, but the general
  8     A    Well, again, without a value assessment,             8 arguments I was aware of and felt comfortable
  9 an objective -- as we talked about earlier, an                9 signing onto the brief.
 10 objective assessment of whether one needs to have            10     Q    Do you agree with the arguments in the
 11 medical interventions that carry significant risk            11 brief?
 12 versus not needing them. Objectively speaking, if            12     A    Again, I would have to read that in
 13 there is not a need to expose a patient to medical           13 entirety. I've not read it in many, many years. So
 14 risk would be superior to interventions that carry           14 I would need to reread it again.
 15 risk. Provided that the outcomes are equal as far            15           Now, at the time -- again, I've
 16 as restoration to health and lifelong functioning.           16 continued my investigation of this topic. I
 17 There are many components of that that we've                 17 continue to do that to this day. I continue to
 18 discussed in greater detail earlier in our time              18 consider alternative hypotheses. I consider all of
 19 today.                                                       19 the discussions going on. And the reason I can't
 20     Q    So Andrew, I think we're going to move off          20 answer your question is I would need to reread that
 21 of this and go to Exhibit 3 [sic].                           21 document in light of what I know now versus what I
                                                      Page 195                                                            Page 197
  1               (Hruz Deposition Exhibit C was                  1 knew at the time that I signed onto that.
  2               marked for identification.)                     2     Q     I did have a couple questions about some
  3 BY MS. WILLIAMS:                                              3 of the characterizations in the brief. If we can
  4     Q    Doctor, do you recognize this document?              4 talk through.
  5     A    I do, yes.                                           5             Andrew, could we go to page 11. I
  6     Q    What is it?                                          6 think it's 11. Not in the PDF.
  7     A    I believe that this is an amicus brief               7             So Doctor, please take a minute and
  8 that was filed. It looks like -- I'm looking at the           8 just read that first paragraph. I can go ahead and
  9 date here. It was early in my involvement in this             9 read it out loud too. Are you able to see it?
 10 whole area.                                                  10 Should we zoom it up a little bit?
 11     Q    Andrew, do you want to zoom in a little             11     A     No. I can read it.
 12 bit so everybody can see it, including me. Thank             12     Q     So what the brief states is that in
 13 you.                                                         13 standard medical and psychological practice, a child
 14            So what was the nature, if you                    14 who has a persistent mistaken belief that is
 15 remember, of the case or for which this brief was            15 inconsistent with reality is not encouraged in his
 16 filed?                                                       16 or her belief. And then the brief goes on after
 17     A    You know, again, it was so long ago, I              17 citing two articles. For instance, an anorexic
 18 think it related to more of the question about               18 child is not encouraged to lose weight. She is not
 19 bathroom utilization. But it's been so long, I've            19 treated with liposuction; instead, she is encouraged
 20 done so much in the interval since that time.                20 to align her beliefs with reality, i.e., to see
 21     Q    Did you review the brief before it was              21 herself as she really is. Indeed, this approach is

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  1 not just a good guide to sound medical practice, it          1 when one uses an analogy, that all analogies fall
  2 is common sense.                                             2 short in some way. But the truth that's present in
  3            Then the next paragraph starts, Until             3 this statement speaks to a -- in the anorexic
  4 recently this was precisely how gender-dysphoric             4 individual something that is contrary to the
  5 children were treated.                                       5 objective data that's in front of that practitioner.
  6            Did I read that correctly, Doctor?                6 Meaning, the belief that one is overweight when
  7     A   That's what I'm seeing on the screen here,           7 objectively speaking they are undernourished, and it
  8 correct.                                                     8 was written at a time when the claim was being made
  9     Q   So if we extend the analogy here about               9 calling into question sexual identity as being
 10 anorexia to gender dysphoria, are we -- is the brief        10 equated with gender identity is my recollection.
 11 rather -- let me rephrase. If we extend this                11              Again, I'd have to read the entire
 12 analogy to gender dysphoria regarding anorexia, is          12 document in the context of then and now to be able
 13 the brief arguing in favor of actively encouraging          13 to say more.
 14 minors of gender dysphoria to realign with their sex 14 BY MS. WILLIAMS:
 15 assigned at birth?                                          15     Q      I have another passage that if we can pull
 16         MR. MILLS: Objection.                               16 up, it would be 14. So, Doctor, if you can read
 17     A   Again, reading only the section, not                17 that paragraph. If you want to read the surrounding
 18 reading in its entirely, and not considering the            18 paragraphs, let me know. But what the brief states
 19 entirety of that document in relation to all of what        19 is that policies and protocols that treat children
 20 has been written on the topic since that time, this         20 who experience gender-atypical thoughts or behavior
 21 particular statement was written -- my                      21 as if they belong to the opposite sex, on the
                                                     Page 199                                                             Page 201
  1 recollection -- in response to again some of those           1 contrary interfere with the natural progress of
  2 premises that were stated very early on.                     2 psychosexual development. Such treatments encourage
  3            And I do remember this about a decade             3 a gender-dysphoric child like the respondent to
  4 ago where it was not recognized -- people were               4 adhere to his or her false belief that he or she is
  5 making claims it wasn't actually as nuanced in the           5 the opposite sex. These treatments would help the
  6 understanding of gender versus sex. But the                  6 child to maintain his or her delusion but with less
  7 objective reality of one's sexual identity being             7 distress by, among other aspects, requiring others
  8 male is what is being addressed here, or female for          8 in the child's life to go along with the charade.
  9 that respect, to look at the objective biological            9             Did I read that correctly, Doctor?
 10 reality of that sexual identity and intervening in a        10     A     You read the text as I see it on the
 11 way that is discordant with that sexual identity.           11 screen.
 12            Now, there are arguments that have               12     Q     So is the brief arguing that individuals
 13 been made since the time this was written in                13 of gender dysphoria are experiencing a delusion?
 14 addressing this question of gender identity versus          14     A     Again, that is another example of language
 15 sexual identity in a way that still creates                 15 that I would have used differently. One needs to
 16 difficulties, but the conversation as it began was          16 look at what that word means. That delusion is
 17 to make the claim that one's sex was their gender           17 somebody that believes something that's not true.
 18 identity. I do see some that are still making those         18 Now, the conversation revolves and the objections to
 19 statements.                                                 19 the use of that word deals with what the individual
 20            And I think the analogy -- I always              20 is experiencing. We've already talked about this
 21 caution my colleagues, my trainees as well, that            21 question of gender identity being subjective.

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  1           But I think it's trying to convey                  1 the questions that are being argued in the document,
  2 exactly what I stated in my response to the previous         2 it leads to incorrect conclusions to be made about
  3 question that you had. At the time this document             3 the basis for which the argument is made.
  4 was written, there were statements being made about          4    Q    So I think we've been going for about
  5 sexual identity being equated with gender identity.          5 another hour. Are we okay to take about five
  6 And in light of the conversation at that time in the         6 minutes? Does that work for folks?
  7 context of the point that was being made is                  7    A    This time I'm going to agree with you.
  8 understandable even though the language is different         8        MS. WILLIAMS: We'll be back at 1:45,
  9 than if I had directly penned the document myself.           9    2:45.
 10     Q   So do you agree that affirming someone's            10               (A recess was held.)
 11 gender identity when that identity differs from             11 BY MS. WILLIAMS:
 12 their birth sex is going along with the charade?            12    Q    All right. Andrew, did you want to pop
 13     A   The additional insight as I continued to            13 the same document up again? I have one quick
 14 interact with this patient population and those that        14 question. If you can go to page 22, please.
 15 are in the conversation is not directed toward those        15            Doctor, just in the last sentence,
 16 objective -- the statements and claims that are             16 the phrase is used, impersonating someone of the
 17 being made about one's sexual identity. It is               17 opposite sex. And I was just wondering what you
 18 directed toward understanding the distress that one         18 take that phrase to mean?
 19 has and really focusing on -- let me be clear. I            19    A    As it was written at that time by the
 20 found it very helpful to -- whether there's an              20 person who chose those words, or as I understand it
 21 objective reality present or not, that to best help         21 currently?
                                                     Page 203                                                       Page 205
  1 this patient population, it's best to best                   1    Q    As you understand it currently.
  2 understand the experience that these individuals             2    A    Okay. So the experience that one has of
  3 have and then to critically evaluate interventions           3 one's gender identity is something that one needs to
  4 that are directed toward alleviating that distress.          4 recognize. One also needs to recognize objective
  5           Stated another way, and I did this in              5 realities regarding sexual identity.
  6 my editorial that I wrote for that systematic review         6            And this entire conversation, as it
  7 in Sweden. That if one accepts the premise that the          7 has continued over the last decade that I've been
  8 underlying problem in this condition is a defective          8 involved with it, is directed not toward the
  9 body with a normal psychological constitution, it            9 question of premises that are not provable, but --
 10 would make sense to propose interventions directed          10 like on what sexual identity is, but rather on how
 11 toward changing the appearance of the body. If one 11 one can best alleviate the suffering that one has,
 12 accepts the premise that, when there's that                 12 one has when there is the experience of a
 13 disconnect, that there are psychological factors            13 sex-discordant gender identity, and that has been
 14 that restoration of help is going to be best                14 the focus of my involvement and continuing desire to
 15 addressed by addressing psychological factors.              15 help the conversation, objectively look at ways that
 16           And that's a much richer, I think,                16 we can alleviate suffering.
 17 presentation of the problem at hand. And again,             17    Q    And do you happen to recall at the time
 18 like in other areas, as one has had time to gather          18 what that phrase was intended to mean?
 19 more information to more critically assess what is          19    A    No. I can infer in relation to what I
 20 available, it leads to when one takes a document out 20 said previously. At the time, statements were being
 21 of context, which includes temporal relationships in 21 made about really in -- by people that were

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  1 advocating for the affirmation approach that gender        1 STATE OF MARYLAND
  2 identity was the determinative factor on one's             2 COUNTY OF CARROLL
  3 biological sex.                                            3        I, Laurie Baker, a Notary Public of the State of

  4            And that was the concern that in that           4 Maryland, County of Carroll, do hereby certify that the

  5 premise, in relation to what we understand and have        5 within-named witness personally appeared before me via

  6 always understood in a biological level about sexual       6 videoconference at the time and place herein set out, and
                                                               7 after having been first duly sworn by me, according to law,
  7 identity, male and female, and as we were beginning
                                                               8 was examined by counsel.
  8 to understand what these individuals that were
                                                               9        I further certify that the examination was
  9 presenting with sex-discordant gender identity were
                                                              10 recorded stenographically by me and this transcript is a
 10 experiencing.
                                                              11 true record of the proceedings.
 11       MS. WILLIAMS: Just for some housekeeping
                                                              12
 12    with Laurie. Did I actually mark this exhibit?
                                                              13        I further certify that I am not of counsel to any
 13    Or should I mark it? I'll go just ahead and do
                                                              14 of the parties, nor an employee of counsel, nor related to
 14    that then.
                                                              15 any of the parties, nor in any way interested in the outcome
 15       So just to clarify, Exhibit A would be              16 of the action.
 16    document one, Doctor Hruz's report.                    17        As witness my hand and seal this 12th day
 17       Document 2, the New Atlantis article,                     of April 2024.
 18    would be Exhibit B.                                    18
 19       And document 3, the Gloucester brief,               19                     <%26549,Signature%>
 20    would be Exhibit C.                                    20                     LAURIE BAKER
 21       I think those are all the exhibits.                 21 My Commission Expires 09-01-26
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  1       So Doctor Hruz, I don't have any more
  2    questions for you. So thank you so much for
  3    your time and for joining today.
  4       And thank you to counsel and Laurie.
  5       And I'll open it up. Does anyone have
  6    anything they want to add before we sign off?
  7       MR. MILLS: Nothing here. Thank you.
  8       MR. STOLL: Nothing for me. Thank you.
  9       THE REPORTER: If I can get orders for
 10    anyone that wants a copy of the transcript.
 11       MS. WILLIAMS: United States will want a
 12    copy.
 13       MR. STOLL: So will the private
 14    plaintiffs. Thank you.
 15       MR. MILLS: So will the defendants.
 16                 (Deposition was concluded at
 17                 2:50 p.m.)
 18
 19
 20
 21

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                    Federal Rules of Civil Procedure

                                    Rule 30



       (e) Review By the Witness; Changes.

       (1) Review; Statement of Changes. On request by the

       deponent or a party before the deposition is

       completed, the deponent must be allowed 30 days

       after being notified by the officer that the

       transcript or recording is available in which:

       (A) to review the transcript or recording; and

       (B) if there are changes in form or substance, to

       sign a statement listing the changes and the

       reasons for making them.

       (2) Changes Indicated in the Officer's Certificate.

       The officer must note in the certificate prescribed

       by Rule 30(f)(1) whether a review was requested

       and, if so, must attach any changes the deponent

       makes during the 30-day period.




       DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

       ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

       THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

       2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

       OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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                    VERITEXT LEGAL SOLUTIONS

        COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

  Veritext Legal Solutions represents that the

  foregoing transcript is a true, correct and complete

  transcript of the colloquies, questions and answers

  as submitted by the court reporter. Veritext Legal

  Solutions further represents that the attached

  exhibits, if any, are true, correct and complete

  documents as submitted by the court reporter and/or

  attorneys in relation to this deposition and that

  the documents were processed in accordance with

  our litigation support and production standards.


  Veritext Legal Solutions is committed to maintaining

  the confidentiality of client and witness information,

  in accordance with the regulations promulgated under

  the Health Insurance Portability and Accountability

  Act (HIPAA), as amended with respect to protected

  health information and the Gramm-Leach-Bliley Act, as

  amended, with respect to Personally Identifiable

  Information (PII). Physical transcripts and exhibits

  are managed under strict facility and personnel access

  controls. Electronic files of documents are stored

  in encrypted form and are transmitted in an encrypted
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  fashion to authenticated parties who are permitted to

  access the material. Our data is hosted in a Tier 4

  SSAE 16 certified facility.


  Veritext Legal Solutions complies with all federal and

  State regulations with respect to the provision of

  court reporting services, and maintains its neutrality

  and independence regardless of relationship or the

  financial outcome of any litigation. Veritext requires

  adherence to the foregoing professional and ethical

  standards from all of its subcontractors in their

  independent contractor agreements.


  Inquiries about Veritext Legal Solutions'

  confidentiality and security policies and practices

  should be directed to Veritext's Client Services

  Associates indicated on the cover of this document or

  at www.veritext.com.
